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                UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                   ANDRE BISASOR, Plaintiff,
                                               v.
               CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                    UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                                 Case No.1:23-cv-00374-JL
PLAINTIFF’S EMERGENCY MOTION FOR RECONSIDERATION OF THE COURT’S 5-16-24
   ORDER STRIKING PLAINTIFF’S CORRECTED REPLIES TO THE DEFENDANTS’
         OBJECTIONS TO PLAINTIFF’S MOTION TO AMEND COMPLAINT
1. I hereby provide this emergency motion for reconsideration to the court’s orders striking the plaintiff’s

    corrected replies1 to the defendants’ objections to plaintiff’s motion to amend the complaint, that was

    entered on the docket by the clerk on 5-16-24.

2. The court’s 5-16-24 order stated:

         ENDORSED ORDER : On May 13, 2024, plaintiff Andre Bisasor timely filed two replies to defendants'
         objections to his motion to amend the complaint (doc. nos. 208 and 209). On May 14, the day after the court's
         deadline for Bisasor's filing of his replies, the court entered a notice informing Bisasor that he failed to include a
         description for certain exhibits to doc. no. 208. The notice stated "NO ACTION REQUIRED - FOR
         INFORMATIONAL PURPOSES ONLY AND MERELY INTENDED TO EDUCATE ALL PARTIES IN
         THE CASE." Subsequently, Bisasor filed two additional documents, doc. nos. 210 and 211, ostensibly as
         "corrected" versions of his replies (doc. nos. 208, 209) to defendants' objections to his motion to amend the
         complaint. Bisasor asserts that he filed doc. nos. 210 and 211 "in light of the clerks' notice of filing error" and
         also "for errors found after further review, including typos, grammatical errors, missing words/sentences." Doc.
         no. 210 at 10 n.3. The clerks' error notice was not an invitation to Bisasor to file additional replies the day after
         the May 13 deadline. The notice contained no language extending the filing deadline or otherwise permitting
         Bisasor to file additional replies. To the contrary, the notice stated "NO ACTION REQUIRED" and that it was
         "FOR INFORMATIONAL PURPOSES ONLY." Moreover, Bisasor went beyond both the scope of the clerk's
         error notice and correcting mere typographical errors in his "corrected" replies. Doc. nos. 210 and 211 are
         untimely and improper. The clerk is directed to strike doc. nos. 210 and 211 from the docket. So Ordered by US
         Magistrate Judge Talesha L. Saint-Marc.(ko)

3. I believe that the striking of my replies is overly harsh and prejudicial, especially since it simply included my

    correcting exhibit descriptions and exhibit header information, and adding certain missing exhibits that

    were mentioned in the original replies but inadvertently not attached, or renumbering exhibits that were

    previously attached but misnumbered, as well as correcting typo errors, grammatical errors, missing words

    and paragraph references, or misplaced words, or otherwise minor rewording or clarifying sentences to be

    more clear or more coherent and intelligible, and making other errata corrections.. This harms no one and

    simply ensures that the filing is more intelligible, among other things.


1 See Exhibit A the corrected reply (to Donais defendants) and Exhibit B for the corrected reply (to Hilliard defendants).


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4. As a pro se plaintiff, who has sought reasonable accommodations under the ADA related to filings, it is not

    unusual for me to need to do these types of corrections and these types of corrections should not be treated

    as though they are violative of court rules or the court’s orders, especially when this court has not said

    anything to prohibit this in the past but instead has previously allowed this to happen without incident,

    warning or consternation. Arguably, it is a due process violation for the court to take such sudden drastic

    action, in light of the above.

5. Moreover, as a matter of fundamental fairness, I believe I am allowed to make corrections to a filing.

6. I also believe this is allowed under the rules and customs of federal courts. See a federal court’s website

    stating “If you notice the error immediately, and can quickly prepare and file an amended or

    corrected      version      of    your      document,         you    may       do     so.”    See     example      from:

    https://www.cacd.uscourts.gov/faq/criminal-duty-matters/what-should-i-do-if-i-discover-errors-my-e-

    filed-document.

7. Hence, I have been operating in good faith with the understanding that this is acceptable or accepted

    practice in federal court. Similarly, errata corrections are routinely accepted in federal court and by the

    federal appellate courts. See McDonough v. City of Portland (1st Cir. 2017). Many lawyers, including the

    United States attorney generals, have submitted corrected filings to make corrections to errors in their

    filings, throughout their careers. See United States of America v. DIRECTV Group Holdings, LLC et al,

    No. 2:2016cv08150 - Document 41 (C.D. Cal. 2017).

8. Moreover, in this very case, the defendants have submitted corrected filings in the past2, and no one ever

    said anything about that. It has thus been understood that this is acceptable practice.

9. The court in this case thus appears to be treating me lesser than it would other lawyers, potentially

    symbolizing bias against me as a pro se litigant.




2 See doc. 30 for docket entry on 6-23-23 by defendants: “Amended Opposition re 14 Amended MOTION for Entry of Default AMENDED

[RE-FILED] RENEWED MOTION TO ENTER DEFAULT AGAINST DEFENDANT CRAIG DONAIS AND AFFIDAVIT
[WITH INCORPORATED MEMORANDUM]”

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10. Denying me the right to correct errors or make errata corrections, of this kind, is highly prejudicial and

       unfair, and is also highly irregular if not unheard of. In fact, in my review of case precedent on this issue, I

       have not found any instance where this court or any federal court struck a corrected filing or errata

       correction filing of any kind.

11. Either way, this court, in particular, has never stricken a corrected filing of mine or this kind, in this court

       before, even though I have done this same thing (or submitted similar corrected filings)3 at other times in

       the past in this same case. There was no warning from the court that this was a problem nor one that would

       warrant the drastic consequence of striking. But here when I do it here in this instance, the court suddenly

       for the first time finds it to be a problem that necessitates immediate striking. This comes across as a heavy-

       hand from the court that is unwarranted and/or that is punitive.

12. Similarly, how do the corrections made, harm the court or anyone, especially when they were made promptly

       the very next day [5-14-24] after the first timely filing [5-13-24], and the same day [5-14-24] as the clerk’s

       notice of filing error informing me that exhibit notations were missing and should have been included [5-

       14-24]. There was no delay in filing the corrections/corrected filings and thus did not or will not affect any

       timelines in the case, especially as there is no response due from the defendants.

13. Also, in its 5-16-24 striking order, the court also highlights the assertion that the clerk’s notice of filing error

       included a reference that NO ACTION REQUIRED. FOR INFORMATION ONLY. But the court either

       fails to consider or is unaware there was an entry on the docket at the time it was first entered that did not

       include NO ACTION REQUIRED. FOR INFORMATION ONLY. But then another entry thereafter

       showed up with that notation, but there was no such notation on the first entry on the docket at the time

       but then a second entry at the time had the notation. See screenshot of the court docket on 5-16-24 showing

       two docket entries of the clerk’s notice of filing error.




3
    See examples of docs. 161, 138, 125, etc.

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14. I do not know if it was a system error or a clerk error4 but there were two entries about this on the docket,

    one with and one without the notation, which I will show a screenshot of when I file the motion to

    reconsider.

15. NB: It could also be an error on the republished docket from PACER that sometimes publicly appear on

    the internet or that sometimes show docket entries for a case publicly, which is what I viewed in this instance

    (and have to try to resort to in order to view the docket entries though I largely cannot download filings in

    the docket) because I do not have access to PACER as stated many times before and as the court knows 5.

    Either way, I hereby aver that there were two versions of the clerk’s notice of filing error, on the docket

    that I saw on the internet.

16. However, either way, it should not matter if there were two versions of the clerk’s notice of error that I saw

    on the docket as I here indicate, because if even though the second version I saw [the version the court

    refers to in its order] indicated that no corrective action was required, it does not mean any corrective action

    was prohibited. In fact, I clearly did make filing errors, in terms of the exhibits, as the clerk noted in her


4 i.e. it may be possible, as one explanation, that the clerk may have first made one entry and then subsequently updated the entry on

the docket, and this maybe why the republished Pacer docket on the internet shows both entries. Either way, my intent was not to
flagrantly violate some court rule or court order. I simply corrected the original reply believing that this was acceptable as has been
done in the past.
5 That there are problems with the correct version of the docket on the internet stems partly from the fact that I am blocked out from

the official PACER docket, which creates a structural disadvantage for me and results in prejudice to me, which this is likely another
instance of such prejudice, yet the court refuses to grant relief of waiver and instead chides me and/or holds it against for not being
able to afford PACER, including using stigmatizing language about me on this issue, which by the way could indicate some kind of
social-economic or class bias against indigent litigants and which arguably is consistent with the tone and content of the court’s prior
comments about me on this issue.


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    notice. So, if I took the clerk’s notice of filing error as a prompting or suggestion that corrective action was

    allowable (though not required), then why is that not reasonable or allowable? So the court would rather

    leave the errors as is? Moreover, there was no need for the judge to do the equivalent of raining down fire

    and chide me for doing so, especially since the judge has not done so in the past for the same situation

    including where there was a final court ordered deadline involved (with no extensions allowed), which

    implied that this type of correction is permitted. It is surprising that the judge would now, out of the blue,

    suddenly for the first time strike my corrected filings without warning. This is simply unfair.6

17. The court also mentions “Moreover, Bisasor went beyond both the scope of the clerk's error notice and

    correcting mere typographical errors in his "corrected" replies.” Again, the corrections I made were not

    significant and did not alter much the content and meaning of the reply, and included my correcting exhibit

    descriptions and exhibit header information, adding missing exhibits that were mentioned in the replies but

    inadvertently not attached, or renumbering exhibits that were previously attached but misnumbered, etc.,

    as well as correcting typo errors, grammatical errors, missing words and paragraph references, or misplaced

    words, or otherwise minor rewording or clarifying sentences to be more clear or more coherent and

    intelligible, and making other errata corrections. This largely made the filing more coherent and intelligible

    and precise. A critical correction was the missing exhibits that were cited in the original reply but not

    attached. Again, this hurts no one. What really is the point of striking these replies that were already prepared

    and promptly filed? Is it to punish me? To teach me a lesson? If the court wanted to provide instruction

    that it does not want me to do corrected filings after a deadline, then it could have simply allowed the

    corrected filings but then warn me going forward. There was a more measured, even handed way to make

    that point rather than sudden drastic striking of the filing.


6 NB: This shows something is wrong here. I am becoming increasingly frustrated and concerned that I am dealing with a biased

judge. However, it is likely that the judge will deny this, as most humans do when a bias or a blind-spot is reasonably pointed out to
them, as most human beings do in knee-jerk fashion, but judges are even more likely to think they are not biased. I plan to soon file
a motion to recuse the magistrate judge, to present evidence and argument for the need for the recusal, even though this will likely
anger the judge even more and result in retaliatory impulses. I ask the court to not lash out at me for writing this, as these are genuine
concerns and I have the right to express these concerns. It should be noted, for whatever its worth that my background in
organizational/team management and leadership, including emotional/social intelligence and conflict resolution/negotiation training,
as well as in civil rights advocacy, has allowed me some proficiency in evidenced-based bias detection. So my concerns, which will be
more fully outlined in a forthcoming motion to recuse, do not stem from a place of ignorance.


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18. Moreover, there is a hearing on the motion to amend (to which my replies apply to) tomorrow, and the

    court told me in the 4-23-24 hearing that I did not even have to file a reply because I am free to make any

    and all arguments, including arguments that I would or could make in a reply, in the hearing. If so, why

    strike my corrected replies, when the same or similar information can largely be presented at the hearing.7

    NB: Does the court intend to block me from presenting the same information in corrected replies, in the

    hearing tomorrow? If so, this would contradict what the court said to me in the 4-23-24 hearing. If not,

    then it is unnecessary to maintain the corrected replies.

19. Striking filings is a disfavored act and only to be used sparingly and certainly only with prior warning. There

    was no prior warning of striking for filing corrected replies including the type of corrected replies, similar

    to this one, that I filed several times in the past.

20. In light of the above, I ask the court to reconsider the striking and accept the corrected replies. I ask the

    court to un-strike the corrected replies and instruct the clerk to reinstate them to the docket.

21. I ask for an urgent ruling as soon as possible before the hearing tomorrow. Please grant a pro se liberal

    construction to this motion.

22. I sought concurrence from the defendants on this motion but have not received concurrence.

23. WHEREFORE, I respectfully request that this Court grants the relief requested or grant any other relief

    the Court deems proper

                                                                                                            Respectfully submitted,
                                                                                                                 /s/Andre Bisasor
May 23, 2024                                                                                                Plaintiff Andre Bisasor
                                              CERTIFICATE OF SERVICE
                            This filing is served to all parties of record via the e-filing system.
                                                                                                                   /s/Andre Bisasor
                                                                                                                      Andre Bisasor



7 As stated in my notice of intent filed on 5-16-24, and I now repeat here, this seems like mere form over substance, driven presumably

by an intent to appease the defendants, potentially further evidencing bias or evidencing retaliatory impulse due to my vocalizing
concerns (including recent expressions) about the handling of the case by the court or about bias. Either way, it is evident that this
court is becoming increasingly more hostile to the plaintiff, and that it is more and more likely than I will not or cannot obtain a truly
fair hearing in this court, when it comes down to bottom line or the “brass tacks”, so to speak (notwithstanding minor attempts to
throw me a bone on non-core or non-critical matters or when otherwise the matter is 100% clear). I trust my words here makes sense
however inartfully stated and that my words will be construed in a light most favorable and not construed in the most negative or
unnatural light.

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                     UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                        ANDRE BISASOR, Plaintiff,
                                                     v.
                    CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                         UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                          Case No.1:23-cv-00374-JL
  [CORRECTED] PLAINTIFF’S REPLY TO THE DONAIS DEFENDANTS’ OBJECTION TO
      PLAINTIFF’S RE-SUBMITTED MOTION TO AMEND THE STATE COMPLAINT
1. This is a reply to Donais defendants’ objection to my motion to amend complaint (“proposed complaint”).

2. My amendment doesn’t “violate Rule 8” and is not “futile”. I’ve not had any chance or opportunity to amend

   the complaint after service of process in state court. Defendants removed to federal court and then further

   sought/obtained transfer to another federal court, and yet they evidently still expect me to stand on the

   complaint filed originally in state court. After moving through two federal courts, that would simply not be

   fair, just, or equitable. I have the right to amend the complaint at least once in federal court before judgment

   or ruling on a motion to dismiss. I’ll be significantly prejudiced without allowance of amendment to the

   complaint. Moreover, there are additional acts since filing in state court and all amendments arise out of a

   common nucleus of facts. Below, I provide specific responses to Donais defendants’ objection (“objection”).

3. Contrary to the objection, my proposed complaint does address so-called/purported fatal issues. This is an

   error of defendants’ own failure to read the proposed complaint carefully or an intentional attempt to mislead

   the court. It’s evident Donais defendants didn’t consider all changes in the proposed complaint.

4. Contrary to the objection, my allegations are not speculative nor unsupported. I’ve provided firsthand

   knowledge of acts by Donais defendants. Also, this isn’t the stage to provide evidence to support claims.

5. Contrary to the objection, it is NOT beyond a doubt that I can prove no set of facts in support of my claim.

   This argument is circular, and tautological. The standard for allowing amendment of a complaint is a lenient

   one. It would be meaningless for the rules & the law to provide that amendment be allowed freely if the court

   then holds amendment to a strict rigid inflexible rule 12b criteria. For e.g., if I had here used the right to

   amend as a matter of right, none of defendants’ arguments would matter since it’d be allowed without court

   permission and defendants would’ve had to accept that. This shows that amendment should be freely allowed,

   especially where, as here, I had no opportunity to amend the complaint in federal court.




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6. Notwithstanding the length of my proposed complaint, my claims are coherent and intelligible. Also, there

    is no page limit for complaints or amended complaints, and thus I violated no page limit. Please note that a

    complaint can be verbose and still give fair notice of claims. The purpose behind rule 8 is not necessarily to

    bar verbose complaints, but to address complaints that are unintelligible or undecipherable and provide no

    fair notice of claims. Defendants haven’t asserted that my complaint is unintelligible or undecipherable.

7. Rule 8(a)(1) makes no reference to facts or causes of action. Under this rule, if a plaintiff fairly notifies the

    defendant of the nature of the claim and the grounds on which he relies, the action or complaint should not

    be dismissed or denied, because it does so through what might be termed "conclusions of law." See Conley

    v. Gibson , 355 U.S. 41, 45, 78 S.Ct. 99, 101, 2 L.Ed.2d 80 (1957). In Conley, it states:

        “To the contrary, all the Rules require is "a short and plain statement of the claim" that will give the defendant fair
        notice of what the plaintiff's claim is and the grounds upon which it rests….Such simplified "notice pleading" is
        made possible by the liberal opportunity for discovery and the other pretrial procedures established by the Rules
        to disclose more precisely the basis of both claim and defense and to define more narrowly the disputed facts and
        issues. Following the simple guide of Rule 8(f) that "all pleadings shall be so construed as to do substantial justice,"
        we have no doubt that petitioners' complaint adequately set forth a claim and gave the respondents fair notice of
        its basis. The Federal Rules reject the approach that pleading is a game of skill in which one misstep by counsel
        may be decisive to the outcome and accept the principle that the purpose of pleading is to facilitate a proper
        decision on the merits. Cf. Maty v. Grasselli Chemical Co., 303 U. S. 197.”

8. Rule 8 states in the notes: “No technical forms of pleading or motions are required” and that “This reflects the view that

    the primary function of pleadings is not to formulate the precise issues for trial but rather to give fair notice of the claims and

    defenses of the parties, and that particularized pleadings merely result in wasted time and effort, because claimed defects are

    matters of form which are subsequently corrected by amendment.” Rule 8(e)(2) permits “a party to state as many separate

    claims…as he has, regardless of consistency or legal or equitable ground, and also to set forth two or more

    statements of a claim…alternately or hypothetically, either in one count…or in separate counts...”

9. I also allege that defendants, to one extent or another, are working together and making decisions together,

    and that in many instances the acts of one defendant are the reflection of the acts of other defendants because

    of the relationships and/or organizational dynamics. Discovery is needed to dig deeper into the interplay of

    these dynamics. In addition, I provided certain details in the proposed complaint for context and background,

    which is allowable. It would be unjust to strike or deny the proposed complaint, which meets the purpose of

    a complaint, namely, to give notice of claims and to indicate plaintiff is entitled to relief. The Fed.R.Civ.P.

    8(a)) standard contains a powerful presumption against rejecting pleadings for failure to state a claim. All that
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   is required are sufficient allegations to put defendants fairly on notice of claims against them. The issue is not

   whether a plaintiff will ultimately prevail but whether claimant is entitled to offer evidence to support the

   claims. At this stage, the district court must resolve any ambiguities in plaintiffs’ favor. Pro se complaints,

   however inartfully pleaded, are held to less stringent standards than formal pleadings drafted by lawyers. The

   court must construe the pleading liberally and must afford [pro se] plaintiffs the benefit of any doubt, viewing

   such submissions by a more lenient standard. Haines v. Kerner, 404 U.S. 519, 520 (1972)). The court is

   obligated to “‘make reasonable allowances to protect Pro Se litigants'” from inadvertently forfeiting legal

   rights merely because they lack a legal education. Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 475 (2d

   Cir. 2006). The court must continue to “construe [a complaint] broadly, and interpret [it] to raise the strongest

   arguments that [it] suggests.” Weixel v. Bd. of Educ., 287 F.3d 139, 146 (2d Cir. 2002). The proposed

   complaint here has carefully laid out more than sufficient facts indicating defendants are liable and the claims

   against them are colorable. Pro se litigants are allowed more latitude than litigants represented by counsel to

   correct defects in service of process and pleadings. Even if defendants quibble with the technical form of my

   pleading, it still adequately states a claim and shouldn’t be denied amendment under Rule 12(b)(6) or

   Fed.R.Civ.P. 8(a). The US Supreme Court has held pleading standards under Fed.R.Civ.P. 8(a)(2) requires

   only a statement that gives defendants fair notice of what a plaintiff's claim is. My proposed complaint has

   done just that. To the extent my proposed complaint is alleged to be verbose, pro se leniency mandates that

   it not be denied on hyper-technical pleading grounds. NB: The Hilliard defendants have avoided this defense.

10. The Donais defendants fail to consider that this isn’t a typical simple lawsuit with one defendant and one

   plaintiff. This is a complex lawsuit with multiple defendants and multiple claims, and some are alternate

   theories of claims. I can’t be hand-tied to defendants’ presumptions of short & plain statements, when many

   issues have been consolidated into one complaint. I could have done separate complaints for defendants, but

   instead I brought related claims in one lawsuit. Further, the courts have favored resolution of all disputes

   between parties, in a single litigation. This is "to prevent multiplicity of actions and to achieve resolution in a single lawsuit

   of all disputes arising out of common matters." Carteret, supra, at 38, citing Southern Construction Co. v. Pickard,

   371 U.S. 57, 60, 83 S.Ct. 108, 110,9 L.Ed.2d 31 (1962). This supports the principles of judicial economy and

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    efficiency. Rule 8a clearly outlines the burden of pleading, which is much lighter/flexible than what

    defendants suggests. I’ve not failed to meet that burden.

11. NB: Defendants complain about time spent preparing filings, but they’re the ones that harmed me in the first

    place and the ones that moved this case to two federal courts, creating their own work and time spent to do

    so. Also, I refer to the proposed complaint as a placeholder because I didn’t have a proper chance to complete

    amendment of the complaint, the circumstances for which has been elsewhere noted.

12. Contrary to Donais defendants’ objection, no part of my proposed complaint is time-barred. [NB: This is

    already refuted in the proposed complaint. See para. 301, 701-712. That defendants keep reasserting these

    meretricious defenses is tantamount to a violation of Rule 11. See also Exhibit 3]. Because the Massachusetts

    renewal statute/savings statute applies, there are no statute of limitations issues in this case. Yet, defendants

    keep misstating the facts & law, in order to confuse or to throw off the court. NB: Covid tolling under MA

    law and the facts regarding the date of actual filing of the complaint on 6-18-22, are other points that

    undeniably refute any statute of limitations defense, as stated in the proposed complaint. See Para 703-707.

13. Contrary to the objection, the complained of statements are not absolutely privileged. If the allegations in the

    proposed complaint are true (which they are true and defendants can’t deny or dispute this at this stage), then

    the absolute legal privilege doesn’t or can’t preclude my causes of action against Donais defendants. I clearly

    stated in the proposed complaint that I’m not seeking any claim that involves a statement to a court, to

    the ADO or made in a judicial proceeding. See para. 713. Donais defendants cant reinterpret/misinterpret

    my proposed complaint to make it say something that it doesn’t say. Donais defendants seem to respond to

    the first complaint, not the proposed complaint, and are acting as though everything in the first complaint is

    in the proposed complaint. By doing this, they’re effectively trying to deny me the chance to amend the

    complaint, by using the things in the first complaint as grounds to deny the motion to amend the complaint.

    This is circular reasoning. My proposed complaint also centers on statements made to family members, to

    colleagues, to other lawyers in a non-judicial capacity or context, or in a business context, etc. See para. 106,

    248-258, 294-297, 351, 352, 371, 377, 417, 446. None of these statements can be said to even come close to




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   being within the penumbra of any kind of immunity. [NB: These statements by Donais weren’t made in the

   context of any representation of Donais.].

14. Contrary to the objection, in count 3, invasion of privacy, I’ve done a lot more than recite elements of my

   defamation claim. Defendants argue that I claim that “Donais “engaged in publicity,” but Plaintiff does not allege facts

   to demonstrate publicity, and such conclusory statements are insufficient, and the complaint fails to support an inference that any

   fact was publicized, i.e., communicated to the public at large. Plaintiff’s proposed Count 3 does not state a cause of action for

   invasion of privacy.” This is not correct. For e.g., I’ve pled “widespread publication and publicity of false light disclosures,

   throughout the entire police department and…to other police departments in the region, causing a state wide watch/lookout by

   the police for the plaintiff.” See para. 429. Defendants evidently want me to provide summary judgment

   evidence in an amended complaint, in order for amendment of the complaint to not be futile. This is an

   unheard of standard. The defendants appear to unfairly want new rules to apply to me.

15. Contrary to the objection, in count 4, aiding & abetting defamation is a recognized claim both in MA and

   NH. Here, defendants invoke a choice of law argument. But the choice of law issue can’t be resolved here

   when there is a prior pending motion to declare choice of law that has been stayed and which the court stated

   would be addressed only if the stay on the motion to dismiss was lifted, whereupon I can then resume filing

   my reply to defendants’ objection to that motion, which wasn’t filed yet. The court should allow amendment

   to the complaint and then invite defendants to file a new motion to dismiss, and then also invite plaintiff to

   refile any related pending motion, including the choice of law motion, and then address choice of law issues

   as part of the motions to dismiss, along with all the related prior pending/stayed motions as well. To address

   the choice of law issue now would be premature and prejudicial to me as plaintiff, without allowing my reply

   to defendants’ objection.

16. Similarly, I alleged Mary Donais (Ms. Donais) told her family the defamatory statements (para. 468). I also

   alleged Ms. Donais had an “active role” in publication of false statements to the police. See para. 466-469.

   These are, among others, substantive allegations regarding Ms. Donais’ role in the defamatory acts.

   Defendants play words games by asserting I need to allege more facts, but the facts alleged are sufficient.




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   This isn’t required to allege a cause of action. This is a very heightened pleading requirement that isn’t required

   under law. Defendants are trying to make it impossible to plead any claim against the defendants.

17. Contrary to the objection, in count 5, interference with contract or advantageous relations, I allege that Ms.

   Donais and Donais Law Office knowingly interfered with contract along with Craig Donais, and that I had

   a contractual or advantageous relationship with state police including the police chief. I also pled details of

   Donais’ knowledge of the contract and how he came to know about the contract, who was party to it, the

   nature of the contract, and what I was contracted to do, etc. Also, Ms. Donais knew of the contract or

   advantageous relations, and collaborated, joined in on, contributed and conspired on the interference. See

   para. 305. This isn’t based on absolutely privileged communications because it includes communications with

   others who aren’t police, not a judicial officer or ADO official. In order to plead contract interference, I’m

   not required to disclose minute details of the contract. The date of the contract is not necessary to be pled at

   this stage. Again, this is a ridiculous standard. Defendants here are grabbing at straws. Donais isn’t a party to

   the contract, so he can’t say there is no contract. This is just a matter of pleading. See also Manning v. Bos.

   Med. Ctr. Corp., 725 F.3d 34, 65 (1st Cir. 2013) (“A plaintiff cannot know everything about a defendant's potentially

   wrongful conduct, especially when it comes to the inner workings of a corporate or institutional defendant. Thus, our post-Twombly

   cases have recognized that “ ‘some latitude’ may be appropriate where a plausible claim may be indicated ‘based on what is

   known,’ at least where ... ‘some of the information needed may be in the control of [the] defendants.’ ” Menard, 698 F.3d at 45

   (alteration in original) (quoting Pruell, 678 F.3d at 15)”.). Donais knew of the contract with the police as well as

   with the others. Defendants are silent about the other alleged contract interference, which is a tacit admission.

   Also, I alleged both contract interference & interference with advantageous relations. See para. 307-309.

   Defendants are also silent about the advantageous relations (as well as about 93A & MCRA claims), which is

   a tacit admission. This shows defendants know they’re liable and that §176D was violated.

18. The antislapp law doesn’t apply. Moreover, the court can’t adjudicate any reference to antislapp law in an

   objection to a motion to amend complaint. I have pending motions to strike antislapp, or for antislapp

   discovery, that are stayed and can’t be resolved here. If the court were to resolve that here, it would be a gross




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   violation of fairness/due process, and tantamount to a draconian trick designed to lure me away from

   pursuing those motions under the guise they’re stayed, and then blindside me by resolving them here.

19. Moreover, statements between Craig, Mary & Garrett Donais (which I alleged occurred and is a critical part

   of my allegations against Mary & Craig Donais; see para. 462) is not privileged spousal communications.

20. Similarly, I’ve offered facts to support my IIED claim. They complain that I didn’t plead emotional distress

   as distinct from my prior defamation claim. But when I do so in the proposed complaint, they complain that

   I did so because I read their motion to dismiss. NB: Defendants read my oppositions in MA federal court

   and changed their motions to dismiss, in this court. So there is no point to this assertion. In fact, one reason

   for amendments allowed by the rules is to cure defects. This jab is simply gratuitous and pointless.

21. Regarding conspiracy with Hilliard & Donais, my allegations are sufficient for a civil conspiracy claim and

   aren’t absolutely privileged. See para. 579-583. If the court believes more details are needed, then the remedy

   is instruction for a limited further amendment or more definitive statement. Also, defendants asserted that

   “Plaintiff in his FAC alleged that Donais may have acted “alone.” (Doc. 1-3, ¶803.)”, but yet defendants can’t

   reference statements in a prior complaint as grounds for objection to the proposed complaint, as the first

   complaint is a nullity with respect to the motion to amend complaint. The court can’t deny amendment based

   on something stated in the prior complaint. See also Exhibit 6 for reply to Hilliard’s objection.

22. Similarly, in count 10, breach of fiduciary duty, I do allege a “fiduciary relationship that has been acquired

   and abused or a confidence has been reposed and betrayed”, and that Donais violated an “ethical and

   fiduciary” obligation to avoid conflicting representation and by discussing my confidential conversations,

   with others. See para. 600-601. I alleged that Donais did enter into a legal consultation contract relationship

   and thus an attorney-client relationship with me. It’s not necessary for me to allege that Donais or his law

   practice represented me in court. Thus, Donais owed a duty to me as plaintiff, and there was a fiduciary

   relationship. In fact, Defendants essentially admit there was a fiduciary relationship. In an example of utter

   grabbing at straws, defendants assert that where Donais violated that duty, it’s somehow absolutely privileged,

   which is absolutely ridiculous and a bad faith defense. The 2017 phone legal consultation is not time-barred.




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23. Contrary to the objection, in count 11, I do allege a contract between Donais and me. Also, defendants illicitly

    engage in disputation of facts by asserting that “In a blatant attempt to avoid dismissal, Plaintiff now contends that he

    was Donais’ client…However, he clearly was not.” In addition to disputing facts, defendants reference the first

    complaint again, in violation of the rules, by saying “As he currently alleges in his FAC”. There was a contract

    formed by virtue of the rules of professional conduct for lawyers, which obligate lawyers to protect

    confidentiality of clients or prospective clients, and impose obligation to avoid conflict of interest with parties

    adverse to each other. Donais violated that obligation/expectation under the rules of conduct. Moreover,

    Donais undertook specific acts including giving me legal advice and reviewing case information and

    recommending certain actions. This ratified the contract between the parties. The 2017 conversation

    stemmed from Donais’ call to me, after another lawyer Robert Obrien had arranged legal services of Donais

    for me and my wife, and after I had left a voice message for Donais asking for legal consultation services for

    me (and my wife). This claim can’t be denied based on futility because there is simply too much there that

    allows for the claim to proceed. The agreement was to provide legal advice/ consultation. A contract doesn’t

    have to involve full legal representation in court but can be limited to one conversation. The contract here

    occurred for legal advice/consultation and contract expectation occurred when Donais fulfilled the legal

    advice/consultation services for me in 2017. This was the common purpose for the contract with me. I’ve

    pled facts about the harm/damage caused by Donais’ breach of contract (see para. 632-637). NB: Donais

    defendants admit that I called myself a “former client” in the complaint, which confirms I’ve alleged a

    contractual attorney-client relationship (see para. 618, 620, 657).

24. Regarding Count 12, §1981, I alleged that there was a contract. The 2017 legal consultation, at minimum,

    satisfies the §1981 contract requirement. I also alleged §1981 violations based on other acts of Donais,

    subsequent to 2017 legal consultation (see para. 171-180, 412, 645, 651 & 658). Also, this is not time barred.

25. Similarly, defendants’ assertion that the claim against the malpractice carriers is futile is a clearly conclusory

    statement. The issue regarding whether liability is reasonably clear can’t be simply assumed to be in favor of

    the carriers when only the carriers/their counsel can assert or deny that liability (to them) wasn’t reasonably

    clear. If there are email communications between defendants and their carriers showing that the carriers were

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   concerned that liability is clear (but they were persuaded to hold the line in order to try to protect the

   reputation of defendants or because they were willing to gamble that a pro se non lawyer could prove it or

   know even to raise it as a claim), then this would indicate that liability was clear, despite all the public posturing

   by defendants to the contrary. I offered evidence of this, including that defendants counsel avoided any denial

   of liability or the facts of the case in MA federal court. An established law firm wouldn’t make such a mistake

   if there wasn’t serious consideration that the facts can’t be denied or liability was clear.

26. Donais defendants can’t challenge the claims against John Doe companies. Donais defendants’ counsel has

   stated that they don’t represent John Doe companies, and will not receive legal documents or letters for John

   Doe companies. See Exhibit 1. Thus, they can’t speak for John Doe companies. Only John Doe companies

   can speak for themselves. Donais defendants’ counsel want to have it both ways. They evidently want to play

   games with identifying the name of the companies, and claim that they don’t represent John Doe companies,

   while at the same time trying to make defensive arguments for John Doe companies. This is not right or fair.

   We need to hear from John Doe companies’ counsel. Donais defendants can’t assert that adding John Doe

   companies, and attendant §176D claims, are futile because liability is not reasonably clear, when the

   underlying facts aren’t disputed, nor can be disputed at this stage. Similarly, even if the facts could be disputed,

   it can’t be disputed by Donais defendants’ counsel because they don’t represent John Doe companies. Here,

   defendants (or the carriers) are in possession of information that is pertinent to this issue but defendants play

   hide the ball, saying I don’t present enough info. while hiding/blocking said info.

27. Contrary to the objection, I don’t seek to add defendants solely for the purpose of destroying diversity, but

   instead because they’re necessary parties or because subsequent acts after the filing of the complaint

   necessitate their addition to this case. The purpose of my amendment can’t be to defeat diversity jurisdiction

   because the court already denied remand based on affirming diversity. Also, I wasn’t dilatory as I’ve been

   seeking to add these parties promptly after defendants removed to federal court a year ago, and have been

   telling both federal courts that I’m seeking to add these parties since a year ago. The delay has been to no

   fault of mine. It can’t be my fault because I literally said I was seeking to add a non-diverse party and insurance

   companies since June 2023. Moreover, defendants have blocked me from obtaining the names of John Doe

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   companies (see again Exhibit 1). I’ll be significantly injured by denying this amendment. Defendants also

   admit that adding John Doe defendants don’t destroy diversity, so this argument can’t apply to them.

28. Defendants allege that adding Van Meek as a defendant is solely to “destroy diversity”, and that other than

   identifying Van Meek as a party, I “mentioned her only two other times”. But the reference to her as a non-

   diverse party is a reference back to prior filings where I told the court about a non-diverse party. Defendants

   are trying to twist my intent here. Yet, why do defendants even care? The court ruled that it has federal

   question & diversity jurisdiction. It should be curious to the court why there is this much effort to block Van

   Meek. The reason is that she is a critical and necessary party to showing part of the conspiracy claim and they

   want block that claim. The fact that I’m persisting in adding her as a defendant, despite the court’s denial of

   remand that affirmed diversity, shows that I can’t be doing this solely to destroy diversity. It is further not

   true to assert that I filed my “complaint in June of 2022”, but “did not seek to add her as a party until March of 2024”.

   I’ve been seeking to add her since June 2023 but I’ve been prevented by the maneuvers of defendants and

   the operations of the court. I’ll be significantly injured without Van Meek. According to defendants, unless I

   add a proliferation of claims against Van Meek, then somehow the claim is not valid. This is flawed erroneous

   reasoning. Defendants assert there are no facts about Van Meek’s specific “job” pled. But this is not quite

   true. I stated that Van Meek conspired outside of her job also. The proposed complaint doesn’t make the job

   the focal point because the conspiracy also took place outside of the job. See para. 584. If the court believes

   this is a deficiency needing more info. about the job, then the remedy is a limited instruction on further

   limited amendment, not denial or dismissal. Defendants also engage in unsupported/unwarranted

   speculation, without any basis, about my reasons for not going into detail about the job. Alleging a conspiracy

   to injure me, doesn’t require identification of anyone’s particular job. The claim is about a

   conspiracy/collusion between the persons to harm and injure me. I provided facts evidencing such

   conspiracy by alleging that Van Meek was fired or re-assigned once it was discovered by others, including her

   supervisor, of her conspiracy to harm me. See para. 584. If this is accepted as true, then it is strong damning

   factual evidence indicating guilt/liability. I need a chance to flesh this out in court, and not be denied the

   chance to even assert the claim via amendment. Van Meek can then provide her response or defense to the

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    claim at the appropriate time and forum. Van Meek is not immune from suit. To the extent defendants assert

    that Donais didn’t make plans with, nefariously interact with, or conspire with Van Meek against me, whether

    in or outside of her job, as a basis for their objection, then that’s a factual dispute (which isn’t appropriate to

    resolve at this stage), and supports grounds for discovery. See again Exhibit 2.

29. Also, defendants mislead this court with reference to page 9 of Exhibit A of their objection. That false

    reference pertained to suspected communications between the judge of the MA Middlesex superior court

    case and Donais, or between the judge and another clerk at the time, named Doug (NB: Van Meek was not

    a clerk in that court) of that case, about things that the judge or clerks heard from Donais. It wasn’t about

    communication between Donais and Van Meek whatsoever. Also, the judge did no investigation of

    facts/allegations regarding Donais and any clerk staff, but only stated that nothing improper came to his ears.

    Defendants thus misconstrued the docket. It has nothing to do with claims about Van Meek in my proposed

    complaint. Defendants either misread or intentionally twisted the docket. Also, the appeals court

    subsequently allowed for motion to disclose communications with Donais and clerks. Either way, the item

    wasn’t closed in state court, despite what defendants says. See Exhibit 4 & 5. See also sealed transcript.

30. Donais defendants either refer to or repeat arguments made in their motion to dismiss. Defendants also used

    their objection to engage in the fact disputes, which isn’t permitted at this stage. Donais defendants misstated

    facts regarding underlying reasons for dismissal in related Middlesex superior court case. Donais defendants

    know the truth but tried to mislead or deceive this court. This fact dispute will require discovery to ascertain

    bases for the 1-88 dismissal (without prejudice) that occurred in related Middlesex superior court case. See

    also Exhibit 6 for reply to Hilliard defendants’ objection, incorporated herein by reference.

31. Please liberally construe and grant my request or any other relief the court deems proper1.

                                                                                                              Respectfully submitted,
                                                                                                                  /s/ Andre Bisasor
Date submitted: May 13, 2024                                                                                          Andre Bisasor
Date corrected2: May 14, 2024
1
  I hereby also request discovery and sanctions as shown in Exhibits 2 & 3, which are hereby incorporated herein. [NB: See also Donais
defendants’ objections to discovery and sanctions, which further proves the need for discovery and shows they are blatantly dodging
addressing the fact that they have lied to the court]. I also intend to move to strike this objection, or portions thereof, which will be
forthcoming after filing this reply. I also incorporate my motion to amend complaint, proposed complaint & related filings.
2 In light of the clerks’ notice of filing error today, this correction is made for exhibits/exhibit description, and for errors found after

review including typos, grammatical errors, missing words/sentences. It is made promptly the next day. Please accept this version.
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                           CERTIFICATE OF SERVICE
   I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                  /s/ Andre Bisasor
                                                                                      Andre Bisasor




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                                 EXHIBIT 1

 EMAILS WITH COUNSEL FOR DONAIS DEFENDANTS AND COUNSEL FOR
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                       DOE COMPANIES
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                                  EXHIBIT 2

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             OBJECTIONS TO MOTION TO AMEND COMPLAINT
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                UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                   ANDRE BISASOR, Plaintiff,
                                               v.
               CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                    UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                    Case No.1:23-cv-00374-JL
 PLAINTIFF’S MOTION FOR LIMITED DISCOVERY PERTAINING TO DEFENDANTS’
              OBJECTIONS TO MOTION TO AMEND COMPLAINT
1. NOW COMES the plaintiff and respectfully submits this motion for limited discovery pertaining to

   defendants’ objections to plaintiff’s motion to amend complaint, as follows.

2. NB: I hereby incorporate the facts, arguments and authorities contained in the motion to amend the

   complaint, as if fully rewritten herein. I also refute the arguments, reasoning, claims, considerations,

   suggestions, insinuations, pleadings, statements, conclusions, requests and relief sought in the

   defendants’ oppositions.

          I. STANDARD FOR GRANTING LIMITED DISCOVERY AT THIS STAGE

3. The district court has the authority to allow limited discovery before a Plaintiff amends the Complaint,

   where “modest discovery may provide the missing link.” See Menard v. CSX Transp., Inc., 698 F.3d 40,

   45 (1st Cir. 2012).

4. Discovery is warranted where Plaintiff alleges “enough fact[s] to raise a reasonable expectation that

   discovery will reveal evidence” that supports Plaintiff’s claims. See Parker v. Landry, 935 F.3d 9, 18 (1st

   Cir. 2019), quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

5. Generally, discovery is appropriate where “a material part of the information needed is likely to be within

   the defendant’s control.” Garcia-Catalan v. United States, 734 F.3d 100 (1st Cir. 2013) (noting “it cannot

   reasonably be expected that the appellant, without the benefit of discovery, would have any information”

   about circumstances readily known to defendants), citing Grajales v. P.R. Ports Auth., 682 F.3d 40, 44

   (1st Cir. 2012) (highlighting “[s]moking gun proof” is “rarely available…at the pleading stage”).

6. As to discovery generally, pursuant to Federal Rule of Civil Procedure 26(b), parties are entitled to

   discovery “regarding any nonprivileged matter that is relevant to any party’s claim or defense and

   proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).


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7. Rule 26 is “construed broadly to encompass any matter that bears on, or that reasonably could lead to

   other matters that could bear on, any issue that is or may be in the case.” Energy Power (Shenzhen) Co.

   v. Wang, No. 13-cv-11348, 2014 WL 4687784, at *2 Case 1:21-cv-11181-PBS Document 170 Filed

   02/13/23 Page 4 of 26 5 (D. Mass. Sept. 17, 2014) (quoting Oppenheimer Fund, Inc. v. Sanders, 437

   U.S. 340, 351 (1978)).

8. “District courts exercise broad discretion to manage discovery matters,” Heidelberg Ams., Inc. v. Tokyo

   Kikai Seisakusho, Ltd., 333 F.3d 38, 41 (1st Cir. 2003), and “to tailor discovery narrowly,” Cutter v.

   HealthMarkets, Inc., No. 10-cv-11488, 2011 WL 613703, at *2 (D. Mass. Feb. 10, 2011) (quoting

   Crawford-El v. Britton, 523 U.S. 574, 598 (1998)).

9. When exercising this discretion, courts are to be mindful of the proportionality considerations articulated

   in Rule 26(b)(1). Fed. R. Civ. P. 26(b)(1).

10. The threshold showing that a plaintiff must present to the district court to merit limited discovery is

   relatively low. See Surpitski v. Hughes-Keenan Corp., 362 F.2d 254, 255-256 (1st Cir.1966) (per curiam)

   (explaining that a party should be allowed to conduct limited discovery when its position is not frivolous);

   see generally Swiss Am. Bank, 274 F.3d at 637 (“As a general matter, discovery ... should be freely

   permitted .... ” (quoting Edmond v. U.S. Postal Serv. Gen. Counsel, 949 F.2d 415, 425 (D.C.Cir.1991))).

11. The law authorizes discovery where there is doubt about the underlying facts. See Udeen v. Subaru of

   America, Inc., No. 18-17334(RBK/JS) (D.N.J. Mar. 12, 2019).




                                   II. SUMMARY OF ARGUMENT

12. This motion is made necessary by the scope and content of the defendants’ respective oppositions to

   the motion to amend complaint, making it necessary to obtain additional information from the

   defendants in order for a fair and reasonable response to be provided by me.




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13. In no way should this request for limited discovery be taken as an admission of any of the defendants’

    allegations or arguments nor should this motion be taken as a waiver of the arguments to be made in my

    reply to the oppositions filed by the defendants.

14. The Federal Rules of Civil Procedure, and court decisions applying and interpreting these Rules,

    recognize the right of the non-moving party to obtain the facts that they need to properly and fairly

    counter the moving party's claims through expedited and limited discovery, and to place in abeyance the

    court's consideration and resolution of the relevant issues, until such time as the expedited and limited

    discovery process is completed.

15. The allowance of this motion would accomplish leveling the playing field for the purpose, and provide

    the means recognized in the Federal Rules and by the courts to provide me with the facts and information

    I need to respond to the defendants’ filings, on a fair and effective basis.

16. At a minimum, defendants' practices add further weight to the need and importance of permitting the

    limited discovery, as one means that would help even the playing field and make it possible for me to

    respond to the oppositions, on a fairer basis.

17. The court also must view the facts and all reasonable inferences therefrom in the light most favorable

    to the plaintiff.

                                 III. SCOPE OF LIMITED DISCOVERY ISSUES

18. Plaintiff and the defendants do not agree on the factual allegations relevant to the following issues.

19. The defendants have used their objections to engage in the disputation of facts, which is not permitted

    at this stage, as follows.

A. Disputed Facts Regarding Applicability of Savings Statute and the Underlying Facts Relating
                      to 1-88 Dismissal in State Court of Related Case
20. First, the Donais defendants misstated the facts regarding the underlying reason for dismissal in the

    related Middlesex superior court case. I have proof of my facts regarding this. The Donais defendants

    know the truth but have tried to mislead or deceive this court. This disputation of facts will require




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    discovery and resolution of the factual dispute in order to ascertain the bases for the 1-88 dismissal

    (without prejudice) that occurred in the related MA Middlesex superior court case.

21. The defendants also insert new facts outside the proposed amended complaint including facts about

    proposed new defendant, Beatriz Van Meek, which again is not permitted at this stage.

22. In particular, the Donais defendants stated in the objection, on page 7, that:

             Plaintiff alleges that the Massachusetts savings statute, M.G.L. c. 260, §32, is triggered based upon the
             dismissal of his Middlesex Superior Court complaint. (Doc. 161-1, ¶301.) Plaintiff is incorrect. Attached
             hereto as Exhibit A is the docket summary for 2081CV00087. Therein, the Middlesex Superior matter was
             dismissed on August 2, 2021 as “service not completed for any party by deadline review.” The matter
             evidently was dismissed for lack of service of process, even after Plaintiff obtained several extensions of
             time to serve the complaint. (Ex. A.) Plaintiff’s failure to serve Donais – the only defendant in the matter
             - with process in the Middlesex Superior Court matter is the equivalent of a voluntary discontinuance for
             the plaintiff’s deliberate neglect to prosecute his lawsuit. In such circumstances, the savings statute does
             not save Plaintiff’s time-barred claims. Plaintiff’s failure to effectuate service of process is not by reason
             of an unavoidable accident or because of default or neglect by the officer to whom such process is
             committed.

23. However, contrary to the above assertions by the Donais defendants, I did serve Donais with service of

    process. Donais also lied to courts1 previously stating that he wasn’t served process.

24. Such statement by Donais is false and can be proven false by the fact that a US post office postmaster

    has confirmed that Donais did receive service of process from me, with a certified US post office mailing

    sent to Donais on July 16, 2021. Because Donais was located at the time in New Hampshire, I was

    authorized under the long arm statute to serve process on him by mailing to him certified mail, which I

    did, with proof of receipt provided. A US postal service postmaster has provided written proof and mail

    delivery receipt, confirming that Donais received the mailing of the certified mail containing the service

    documents. But Donais lied to courts, more than once, averring that he was not served, and thus did




1 For example, Donais made the following statement to a Middlesex superior court judge on 11/30/21, where I was not present

on an ex parte basis:

   MR. DONAIS: I'm Craig Donais, although I haven't been served and so I don't have an appearance in on this case.
   ....
   THE COURT: Okay. So, Mr. Donais, or Attorney Donais, but in this case --- you're a named defendant in a case that's not
   been served upon you yet.
   MR. DONAIS: Correct.
   ...
   MR. DONAIS: …I've never been served…

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   not receive any mailing of the summons and complaint from me in that case. This is a bald and egregious

   lie.

25. One example of proof that Donais received the certified mailing from me includes the following email

   from the US postmaster showing the name and address of the recipient of the certified mail package

   being Craig Donais.




26. The below further shows proof from the US postmaster (David Labrie) of a signed receipt of the

   certified mail with tracking number of package I mailed to Donais at his address in NH.




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27. This thus proves that Donais has lied. I thus have statements and documents by the US post office

   confirming that Donais was served process. The dismissal was thus not a failure to prosecute the case.

   The state court dismissed the case on a technicality, in that the proof for service was not received by the

   court within a certain time and the state court prematurely entered a 1-88 dismissal.

28. NB: This is what the current appeal in the MA appeals court is all about and the appeals court will likely

   reverse the 1-88 dismissal and remand the case to the Middlesex superior court. By the wat, this is

   another reason why this court should stay this case and allow the appeals court to resolve this issue,

   especially since the defendants have now made this a key issue to be resolved for this case. The

   defendants keep making big noise about the fact that there is a pending case in MA appeals court and

   keep using this to somehow persuade the court of whatever they next try to argue. But this cuts both

   ways as their emphasis on the importance of this prior state court case in MA, supports giving that prior

   first filed case in MA, the preference and priority, and thus this case should be stayed.

29. Also, I did serve process on Donais before the deadline to serve process was expired.

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30. This is thus a significant dispute of fact with respect to the assertions made by the Donais defendants in

    their objection. Donais asserts in his objection that I failed to serve him process. This is a lie. His only

    way to try to now explain this lie is to assert that the postal employee did not comply with certain

    requirements for service, even though the postal employee gave Donais the service of process

    documents and thus did serve him process. If this is Donais’ defense to this blatant lie, using such a

    hyper-technical argument, then it further establishes that according to Donais, it was a mistake by the

    post employee, which would prove that the savings statute must apply. The only way to know if this is

    what Donais will use to explain his lie is to get Donais under oath to answer discovery. Even so, it would

    still be a lie because he falsely gave this court the wrong impression that he did not receive the service

    of process documents at all and that I “failed” serve him the documents2.

31. Donais has made this squarely a major issue by averring that I failed to serve him, that he was not served

    and that this was a matter of my failure to prosecute, which is a bald lie.

32. This requires discovery as follows: Did Donais receive the service of process documents from me via

    the US post office/postal employee by certified mail? If so, what date stamp was on the certified mailed

    documents? When did Donais receive the certified mailed documents? Does Donais currently have the

    certified mailed documents and envelope, and did Donais preserve the certified mailed documents and

    envelope, and can he produce the certified mailed documents and envelope now? Why exactly is Donis

    saying he was not served the mailed documents? Does he assert that the postal employee did something

    wrong when the postal employee gave Donais the certified mailed documents? Does Donais deny that

    the postal employee gave him the certified mail documents? Why would the post office and postal

    employee say that they gave Donais or delivered to Donais the certified mailed documents that are at

    issue? Donais needs to come clean and answer these questions via limited discovery.




2 NB: I predict that if the Donais defendants provide a response to this motion, they will dodge and deflect from addressing this

issue head on, but will obfuscate and evade the issue of Donais’ intent to assert that the US postmaster made a technical error in
serving the certified mail to Donais, or something to that effect, as the grounds for why service was not made on Donais.

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33. These are critical questions that must be answered in order to resolve whether Donais was served the

    documents in question (pursuant to the long arm statute), whether the plaintiff failed to serve Donais,

    and thus whether the savings statute applies to refute the defendants statute of limitations defenses as

    asserted in their objection to the motion to amend complaint. NB: It is also predictable that the

    defendants will not even answer these questions in their response to this motion.

34. Therefore, in order to decide this issue, limited discovery is required and possibly even an evidentiary

    hearing is required (and I hereby request such a hearing). The integrity of these proceedings are at stake

35. I request, in the interests of judicial equity, that the court permits an opportunity to take limited discovery

    to properly defend against the defendants’ oppositions to my motion to amend complaint.

36. I therefore request that discovery be allowed, without which I believe I would be deprived of proper

    due process, and of my right to a fair opportunity for a fair trial/proceeding.

37. I am only seeking very limited discovery. The court can narrowly tailor discovery to the proper limits. I

    simply ask for the minimum necessary discovery to defend my case against the defendants’ oppositions

    and against any assertion and use of disputed facts outside of the complaint.

38. I am thus seeking limited discovery to establish necessary facts. Limited discovery is appropriate in this

    case, in order to gather necessary information to ensure a fair and just resolution of this issue. Limited

    discovery is reasonable because there are fact issues that need to be addressed, revealed, discovered,

    and/or established regarding the motion to amend complaint. Fact inquiry cannot be fairly or properly

    done without any limited discovery.

39. Limited discovery is also reasonable because defendants are contradicting facts in my motion to amend

    complaint and proposed amended complaint, or are seeking to dispute facts asserted or implied in my

    motion to amend or proposed amended complaint.

40. Limited discovery is proper. Limited discovery is relevant. Discovery is an essential tool in the pursuit

    of justice, particularly where access to information is paramount and a crucial issue.




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41. Limited discovery is necessary to obtain the relevant documents, records, or information held by the

    defendants, which are crucial for the plaintiff to effectively present his case and defend his rights. The

    requested limited discovery is directly related to the central issues of the motion to amend the complaint.

    It is necessary to uncover potential evidence that may support the motion to amend complaint.

42. If the court is to be in a position to resolve the factual dispute germane to the issue of the statute of

    limitations governing this entire case, then the court must resolve the applicability of the Massachusetts

    savings statute, but that is a fact inquiry, and so the court must resolve the fact dispute in order to resolve

    the motion to amend complaint and the attendant objections thereto.

                        B. Disputed Facts Regarding New Defendant Beatriz Van Meek

43. It should be further noted that Donais has also placed at issue the fact of whether he and Ms. Van meek

    conspired against me unlawfully, as follows.

44. First, I did not state that Ms. Van Meek’s role in the conspiracy was in her job or her job only. I clearly

    stated, in one place or another in the proposed amended complaint, that the conspiracy also took place

    outside of her job. As defendants point out, there was no identification of Ms. Van Meek’s job in the

    proposed amended complaint. The defendants seek to insert their speculation that her job was as

    Business Litigation Session (BLS) superior court assistant clerk in Massachusetts. But that wasn’t the job

    I was referring to. Moreover, Ms. Van Meek has had other jobs other than that.

45. Either way, even if that was the job I was referring to (which it was not), then even so, given that my

    proposed amended complaint asserts acts outside of her job, the defendants cannot use their speculation

    to attempt to defeat amendment as futile, because of purported absolute immunity3, at this stage. If that

    is a defense that could be asserted (which I do not concede that it is), it is for Ms. Van Meek to assert

    any defense herself via an answer or a motion to dismiss. Counsel for defendants do not represent Ms.




3 It should be noted that absolute immunity does not apply to clerks of the Massachusetts superior court, except only when a

clerk acts on or carries out the orders of a judge. On all other occasions, clerks may only invoke a qualified immunity, which can
be overcome by facts showing the clerk acted outside of a judge’s orders, acted in malice, or acted outside the scope of her duties,
among other things. The defendants know this but have misstated the law.

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   Van Meek and it is improper for them to speculate as to what her defenses might be, and furthermore

   counsel for the Defendants cannot assert defenses on her behalf.

46. Furthermore, the defendants seek to mislead this court with a reference to page 9 of their Exhibit A of

   their opposition to my motion to amend complaint, but that was a false reference as that pertained to

   whether there was communication between the judge of the MA Middlesex superior court case and

   Donais, or between the judge of that case and the clerk staff of that case about things that may have

   been stated to the clerk staff by Donais. It was not about communication between Donais and the clerk

   staff that was outside of the job or that did not reach to the judge’s ears. The judge undertook no

   investigation of these facts, but only stated that nothing improper came to his ears. That reference is

   thus inapposite and has nothing to do with the claims about Ms. Van Meek in the proposed amended

   complaint. Moreover, the MA appeals court, with respect to an appeal on this underlying state court

   case, subsequently allowed the plaintiff permission to further seek disclosure of the communications

   between Donais and clerk staff, which indicated that the issue was not closed in the state court contrary

   to the mistaken assumptions of the defendants (see MA appeals court docket of that case, for

   confirmation). Similarly, the transcript of the hearing on 11-30-21 in the Middlesex Superior Court case,

   where the references by the judge are being misconstrued by the defendants, clearly show that the judge

   in that case was not passing upon the issue of the communications between Donais and any clerk staff,

   whether in or out of the job. The defendants were not part of that hearing, as that hearing was

   impounded by the judge, and the defendants have taken the entry on the docket out of context and

   applied it to what it actually did not refer to. This can be further addressed in discovery.

47. To the extent the defendants assert that Donais did not make plans with, nefariously interact with, or

   conspire with Ms. Van Meek against me, whether in or outside of her job, as a basis for their objection,

   then that is a factual dispute, and gives rise to further grounds for limited discovery as follows: What

   interactions and communications with Ms. Van Meek did Donais have, and were there in or outside of

   her job? And what was the nature of such interactions and communications? Given that Donais is


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    evidently disputing that he made any plans or communications with Ms. Van Meek, outside of her job,

    then this must be resolved through discovery. NB: Donais is not permitted to dispute facts at this stage,

    neither in a motion to dismiss, and especially not in an objection to a motion to amend complaint.

                 IV. PROPOSED PLAN FOR LIMITED DISCOVERY REQUESTED

48. The requested limited discovery is narrowly tailored to the specific information necessary for the motion

    to amend complaint.

49. It would not be overly burdensome or disproportionate to the nature of this dispute.

50. Allowing limited discovery will not unduly delay the proceedings or prejudice the defendants, as follows.

        a. I would be minimally satisfied with being allowed to propound 10 questions via interrogatories

            and 10 documents for document production upon the defendants, and to take a one hour

            deposition of the Donais defendants.

        b. The court can order discovery limited to 10 questions via interrogatories and 10 documents for

            document production, to be completed within a reasonable time from the date of ruling on this

            motion. Similarly, a 1 hour deposition with the defendants can be completed within a reasonable

            time from the date of ruling on this motion, as well.

        c. This would not unduly delay these proceedings nor create an unreasonable burden on the

            defendants at this juncture.

51. The above are some of the categories of the limited discovery information that I need the defendants to

    provide.

52. I would be minimally satisfied with the above in terms of limited discovery at this juncture. I just need

    a minimal opportunity to conduct very limited discovery.

53. These are critical issues to resolve before the court can look at the larger questions of this case.

54. Consequently, the issues in this case cannot be determined without factual inquiry. Thus, some discovery

    is required to determine or reveal those facts. NB: The matter should not be concluded on conflicting

    affidavits. See Rivera-Lopez v. Municipality of Dorado, 979F.2d 885(1992)(1st Cir.).


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55. If I am not allowed to obtain any discovery at all, I will be severely disadvantaged.

56. As shown above, the requested discovery is targeted towards getting basic information relevant to the

    motion to amend.

                                                V. CONCLUSION

57. Allowance of limited discovery is in the interest of justice, as it will ensure a fair and thorough

    examination of the relevant facts, and contribute to the just resolution of amendment issues.

58. The court must assume my facts are true. But yet the defendants are trying to contradict certain facts in

    my motion to amend and/or the proposed amended complaint. The defendants cannot dispute or

    contradicts any of the facts that are contained in the above. The court cannot use the defendants’ facts

    (or version of facts) as true or as facts, without some limited discovery. The court cannot take defendants’

    facts asserted, cited, implied, or alluded to, as true, over against or to contradict my stated facts or alluded

    to facts.

59. Here, for example, the defendants assert new facts in their oppositions, without any affidavit. It seems

    that the defendants would like the plaintiff and the court to just take their word for it, without any

    evidence or proof of factual assertions. This is not right. Moreover, it violates federal court rules that

    requires fact statements to be supported by affidavit (“The court will not hear any motion grounded

    upon facts, unless such facts are verified by affidavit…”).

60. Fair is fair. The defendants cannot have it both ways.

61. The defendants should not be allowed to effectively “rig the game” by asserting new facts or disputing

    my asserted or implied facts while inoculating themselves from having to test or verify or prove their

    assertion of new facts or their disputation of my facts.

62. Similarly, the facts supplied by the defendants are not to be considered by the court at this stage without

    limited discovery. This supports the need for limited discovery in this case.

63. I need discovery pertaining to this motion to amend complaint. This must be addressed before any

    motion to amend can be resolved.


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64. I request a hearing on this motion.

65. Please grant my request or grant any other relief the Court deems proper.

                                                                                    Respectfully submitted,
                                                                                        /s/ Andre Bisasor
                                                                                            Andre Bisasor
May 9, 2024
                                      CERTIFICATE OF SERVICE
              I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                           /s/ Andre Bisasor
                                                                                                Andre Bisasor




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                              EXHIBIT 3


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MOTION FOR SANCTIONS AGAINST THE DONAIS DEFENDANTS
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                        UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                           ANDRE BISASOR, Plaintiff,
                                                       v.
                       CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                            UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                            Case No.1:23-cv-00374-JL

                    MOTION FOR SANCTIONS AGAINST THE DONAIS DEFENDANTS
1. I the plaintiff hereby move for sanctions against the Donais defendants, and also request that the court

    issue a findings of fact that defendant Donais’ assertion, that Donais was not served process in the

    Middlesex Superior Court case, is false. I thus also move for sanctions including and up to sanction of

    dismissal. Grounds are as follows.

               A. DONAIS’ INTENTIONAL FALSE STATEMENTS TO THIS COURT
2. The Donais defendants, in their opposition to the motion to amend complaint, misstated the facts regarding

    the underlying reason for dismissal in the related Middlesex superior court case. The Donais defendants

    know the truth but have tried to mislead or deceive this court.

3. In particular, the Donais defendants stated in the objection, on page 7 of their opposition to the motion to

    amend complaint, that:

         Plaintiff alleges that the Massachusetts savings statute, M.G.L. c. 260, §32, is triggered based upon the dismissal
         of his Middlesex Superior Court complaint. (Doc. 161-1, ¶301.) Plaintiff is incorrect. Attached hereto as Exhibit
         A is the docket summary for 2081CV00087. Therein, the Middlesex Superior matter was dismissed on August 2,
         2021 as “service not completed for any party by deadline review.” The matter evidently was dismissed for lack
         of service of process, even after Plaintiff obtained several extensions of time to serve the complaint. (Ex. A.)
         Plaintiff’s failure to serve Donais – the only defendant in the matter - with process in the Middlesex Superior
         Court matter is the equivalent of a voluntary discontinuance for the plaintiff’s deliberate neglect to prosecute his
         lawsuit. In such circumstances, the savings statute does not save Plaintiff’s time-barred claims. Plaintiff’s failure
         to effectuate service of process is not by reason of an unavoidable accident or because of default or neglect by
         the officer to whom such process is committed.
4. However, contrary to the above assertions by the Donais defendants, I did serve Donais with service of

    process. Donais also lied to courts1 previously stating that he wasn’t served process.


1
 For example, Donais made the following statement to a Middlesex superior court judge on 11/30/21, where I was not present on an ex parte
basis:
  MR. DONAIS: I'm Craig Donais, although I haven't been served and so I don't have an appearance in on this case.
  ....
  THE COURT: Okay. So, Mr. Donais, or Attorney Donais, but in this case --- you're a named defendant in a case that's not been served
  upon you yet.
  MR. DONAIS: Correct.
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MR. DONAIS: …I've never been served…
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5. Such statement by Donais is false and can be proven false by the fact that a US post office postmaster has

   confirmed that Donais did receive service of process from me, with a certified US post office mailing sent

   to Donais on July 16, 2021. Because Donais was located at the time in New Hampshire, I was authorized

   under the long arm statute to serve process on him by mailing to him certified mail, which I did, with proof

   of receipt provided. A US postal service postmaster has provided written proof and mail delivery receipt,

   confirming that Donais received the mailing of the certified mail containing the service documents. But

   Donais lied to courts, more than once, averring that he was not served, and thus did not receive any mailing

   of the summons and complaint from me in that case. This is a bald and egregious lie.

6. One example of proof that Donais received the certified mailing from me includes the following email from

   the US postmaster showing the name and address of the recipient of the certified mail package being Craig

   Donais.




7. The below further shows proof from the US postmaster (David Labrie) of a signed receipt of the certified

   mail with tracking number of package I mailed to Donais at his address in NH.



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8. This thus proves that Donais has lied. I thus have statements and documents by the US post office

   confirming that Donais was served process. The dismissal was thus not a failure to prosecute the case. The

   state court dismissed the case on a technicality, in that the proof for service was not received by the court

   within a certain time and the state court prematurely entered a 1-88 dismissal.

9. NB: This is what the current appeal in the MA appeals court is all about and the appeals court will likely

   reverse the 1-88 dismissal and remand the case to the Middlesex superior court. By the wat, this is another

   reason why this court should stay this case and allow the appeals court to resolve this issue, especially since

   the defendants have now made this a key issue to be resolved for this case. The defendants keep making

   big noise about the fact that there is a pending case in MA appeals court and keep using this to somehow

   persuade the court of whatever they next try to argue. But this cuts both ways as their emphasis on the

   importance of this prior state court case in MA, supports giving that prior first filed case in MA, the

   preference and priority, and thus this case should be stayed.

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10. Also, I did serve process on Donais before the deadline to serve process was expired.

11. This is thus a significant dispute of fact with respect to the assertions made by the Donais defendants in

   their objection. Donais asserts in his objection that I failed to serve him process. This is a lie. His only way

   to try to now explain this lie is to assert that the postal employee did not comply with certain requirements

   for service, even though the postal employee gave Donais the service of process documents and thus did

   serve him process. If this is Donais’ defense to this blatant lie, using such a hyper-technical argument, then

   it further establishes that according to Donais, it was a mistake by the post employee, which would prove

   that the savings statute must apply. The only way to know if this is what Donais will use to explain his lie is

   to get Donais under oath to answer discovery. Even so, it would still be a lie because he falsely gave this

   court the wrong impression that he did not receive the service of process documents at all and that I “failed”

   serve him the documents .

12. Donais has made this squarely a major issue by averring that I failed to serve him, that he was not served

   and that this was a matter of my failure to prosecute, which is a bald lie.

13. Donais received the service of process documents from me via the US post office/postal employee by

   certified mail. If so, what date stamp was on the certified mailed documents? When did Donais receive the

   certified mailed documents? Does Donais currently have the certified mailed documents and envelope, and

   did Donais preserve the certified mailed documents and envelope, and can he produce the certified mailed

   documents and envelope now? Why exactly is Donis saying he was not served the mailed documents?

   Does he assert that the postal employee did something wrong when the postal employee gave Donais the

   certified mailed documents? Does Donais deny that the postal employee gave him the certified mail

   documents? Why would the post office and postal employee say that they gave Donais or delivered to

   Donais the certified mailed documents that are at issue? Donais needs to come clean and answer these

   questions.

14. These are critical questions that must be answered in order to resolve whether Donais was served the

   documents in question (pursuant to the long arm statute), whether the plaintiff failed to serve Donais, and

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    thus whether the savings statute applies to refute the defendants statute of limitations defenses as asserted

    in their objection to the motion to amend complaint. NB: It is also predictable that the defendants will not

    even answer these questions in their response to this motion.

15. Therefore, I hereby request an evidentiary hearing. The integrity of these proceedings are at stake.

16. I hereby request that the court issue a finding of fact that defendant Donais’ assertion or allegation that the

    Donais defendants was not served summons and complaint service of process documents by a United

    States Postal worker by certified mail in July 2021, is false. Donais’ reference, in his objection, to the failure

    of the plaintiff to serve such documents at all in state court is not true.

                                        B. THE NEED FOR THIS MOTION

17. This motion is necessary because Donais has made an intentional material false statement to this court. It

    is also necessary in order to clarify and protect the record. It is also necessary to preserve the integrity of

    these proceedings. It is also necessary to hold lawyers accountable for upholding the high standards of

    truth and candor required by the court.

18. This false statement is a statement of fact. The statement is also relevant and material because Donais uses it as his

    central point for seeking relief. It is not a side point or peripheral statement. It is central and crucial. It is also

    intentional. The statement was made with a clear intent and objective. This was not done inadvertently or by

    accident. It was done with full consciousness by Donais. The statement is verifiably and provably not true. A

    statement can be proven not true if it can be falsified by other facts. The plaintiffs have provided proof.

19. Therefore, Donais’ statement is not true. It is not accurate. It is not factual. It is false.

20. There is simply no way around this fact.

21. Therefore, the plaintiffs ask that the court issue a finding of fact that comports with the above clear and

    indisputable set of facts.

22. NB: This is compounded by the fact that, after the plaintiff has showed that the statement was false, instead of

    correcting this false statement, Donais doubled down, reiterated and repeated this false statement in multiple filings



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    thereafter. This is further evidence of intent. It is also evidence of malice. And rather than coming clean in response

    to this motion, he will further double down.

                                                      C. SANCTIONS

23. Donais should be held to account for this blatant false statement including up to default judgment.

24. Because of the nature of the claims in this case relating to false statements in the underlying facts of the case, it

    adds insult to injury for Donais to engage in false statements to the court to try to influence the outcome and the

    fair administration of justice.

25. Rule 11 provides that the “signature of an attorney” to any pleading “constitutes a certificate” that there is “good

    ground to support [the pleading]; and that it is not interposed for delay.”

26. Default judgment is warranted, or such other sanctions as this Court deems just and proper.

                                                     D. CONCLUSION

27. The plaintiff hereby request a hearing on this motion.

28. Please grant a pro se liberal construction to this pleading.

29. Please grant the relief requested or any other relief the court deems fair, right, just, equitable or proper.

                                                                                                    Respectfully submitted,
                                                                                                        /s/ Andre Bisasor
                                                                                                            Andre Bisasor
May 9, 2024
                                             CERTIFICATE OF SERVICE
                     I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                                         /s/ Andre Bisasor
                                                                                                             Andre Bisasor




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                                   EXHIBIT 4


            EXCERPT FROM MA APPEALS COURT DOCKET
SHOWING ALLOWANCE FOR MOTION TO DISCLOSE CLERK COMMUNICATIONS
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                              EXHIBIT 5


  EXCERPT FROM MA MIDDLESEX SUPERIOR COURT DOCKET
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                             EXHIBIT 6

[CORRECTED] PLAINTIFF’S REPLY TO THE HILLIARD DEFENDANTS’
     OBJECTION TO MOTION TO AMEND THE COMPLAINT

 [NB: This is with written text of the reply only and is without exhibits, in
  order to save total # of pages of this exhibit. See also complete reply with
                 exhibits, which is fully incorporated herein]
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                      UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                         ANDRE BISASOR, Plaintiff,
                                                      v.
                     CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                          UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                           Case No.1:23-cv-00374-JL
  [CORRECTED] PLAINTIFF’S REPLY TO THE HILLIARD DEFENDANTS’ OBJECTION TO
       PLAINTIFF’S RE-SUBMITTED MOTION TO AMEND THE STATE COMPLAINT
1. This is a reply to Hilliard defendants’ objection to my motion to amend complaint (“proposed complaint”).

2. NB: I below provide specific responses or rebuttals to Hilliard defendants’ objection (“objection”).

3. Contrary to the objection, my proposed complaint is not futile. Also, it’s noteworthy the Hilliard defendants

   do not offer any objection to removal of claims against them in the proposed complaint. It certainly is a benefit

   for the claims against them to be reduced and streamlined via amendment. Also, I amended my complaint

   once in state court before service of process, but not in federal court. This supports the granting of the motion.

4. Contrary to objection, my motion to amend should not be denied for failure to state a claim upon which relief

   may be granted. A court may not dismiss or deny a complaint for failure to state a claim unless it appears

   beyond doubt that a plaintiff can prove no set of facts in support of his claims which would entitle him to

   relief. The Fed.R.Civ.P. 8(a)) standard contains a powerful presumption against rejecting pleadings for failure

   to state a claim. All that is required are sufficient allegations to put defendants fairly on notice of the claims

   against them. The issue is not whether a plaintiff will ultimately prevail but whether the claimant is entitled to

   offer evidence to support the claims. At this stage, the district court must resolve any ambiguities in plaintiffs’

   favor. Pro se complaints, however inartfully pleaded, are held to less stringent standards than formal pleadings

   drafted by lawyers. The court must construe the pleading liberally and must afford [pro se] plaintiff the benefit

   of any doubt, viewing such submissions by a more lenient standard. Haines v. Kerner, 404 U.S. 519, 520

   (1972)). The court is obligated to “‘make reasonable allowances to protect Pro Se litigants'” from inadvertently

   forfeiting legal rights merely because they lack a legal education. Triestman v. Fed. Bureau of Prisons, 470 F.3d

   471, 475 (2d Cir. 2006). The court must continue to “construe [a complaint] broadly, and interpret [it] to raise

   the strongest arguments that [it] suggests.” Weixel v. Bd. of Educ., 287 F.3d 139, 146 (2d Cir. 2002). The

   proposed complaint in this case has carefully laid out more than sufficient facts that indicate that defendants

   are liable and that the claims against them are colorable.


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5. Pro se litigants are allowed more latitude than litigants represented by counsel to correct defects in service of

     process and pleadings. Thus, even if defendants quibble with the technical form of my pleading, it still

     adequately states a claim and should not be denied or dismissed under Rule 12(b)(6) or Fed.R.Civ.P. 8(a)(2).

     The US Supreme Court has held the pleading standard under Fed.R.Civ.P. 8(a)(2) requires a statement that

     gives defendant fair notice of what plaintiff's claim is. The proposed complaint in this case has done just that.

     To the extent that the proposed complaint is alleged to be verbose, as suggested by defendants, pro se leniency

     mandates the case or proposed complaint not be denied or dismissed on hyper-technical pleading grounds.

6. Contrary to the objection, the liberal standard for amendments means a liberal standard. It should be noted

     that the Hilliard defendants concede that there is no issue regarding delay, bad faith, or absence of due

     diligence. The only issue they focus on is futility. It should be similarly noted that the court has read the

     previously filed motion to amend the complaint and the related statements/arguments seeking amendment via

     my objections to the motions to dismiss and the motions to strike, all filed in the fall of 2023. It would be

     draconian for the court to then invite me to file the proposed amended complaint, only to deny the amendment

     of the complaint on grounds of bad faith, delay, or lack of diligence, when it could have signaled that these

     were problems in the 11-23-hearing and in the 12-1-23 order. Here, the only question is whether it is futile.

7. However, contrary to the objection, defendants cannot invoke a rule 12b motion to dismiss standard here

     because there has been no dismissal of any claims by the court prior to this point. The court explicitly stated

     that the amended complaint would moot any pending motion to dismiss. Thus, the court avoided ruling on

     the prior pending stayed motions to dismiss, to allow the amended complaint to be filed, with the objective or

     understanding that the defendants would, if they so desire, file a new motion to dismiss to the new complaint.

8. NB: The Hilliard defendants’ reference to the Glassman case is inaccurate because that applied to a situation

     where the motion to dismiss stage had already passed and the case was at a summary judgment stage. The

     assessment of futility under a rule 12b standard in Glassman was based on the filing of a motion to amend

     during the summary judgment stage, after discovery had been completed.1 This is not applicable here.

1 See Glassman v. Computervision Corp., 90 F.3d 617, 623 (1st Cir. 1996) stating: “Denial of a motion to file an amended complaint is reviewed

for abuse of discretion. See Romani v. Shearson Lehman Hutton, 929 F.2d 875, 880 (1st Cir. 1991); Arazie v. Mullane, 2 F.3d 1456, 1464-65 (7th Cir.
1993) (noting, however, that the relevant pleading standards must be kept in mind when applying the abuse of discretion standard). Rule 15(a) provides that
"leave [to amend] shall be freely given when justice so requires." Unless there appears to be an adequate reason for the denial of leave to amend (e.g., undue delay,
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9. Contrary to the objection, the proposed amended complaint is not futile. First, it should be noted that it would

     be illogical for the court to deny amendment of the complaint, only to then revert back to the original

     complaint, and then, upon lifting the stay on the motions to dismiss, proceed to adjudicate whether some of

     the claims I removed from the complaint, should then be dismissed (i.e., claims which would’ve been self-

     removed if amendment was allowed). Self-removal via amendment is judicially more efficient than dismissal.

10. Here, in their objection, the Hilliard defendants refer to or repeat some of the arguments made in their motion

     to dismiss. Defendants also have used their objection to engage in disputation of facts, which isn’t permitted

     at this stage. Further, the defendants insert new facts outside the proposed complaint, which again isn’t

     permitted at this stage. They also appear to unfairly regurgitate entire portions of their prior (stayed) motions

     to dismiss and thus the defendants appear to be trying to get their objections to the motion to amend the

     complaint, to be treated wholly as ‘defacto’ motions to dismiss. They in fact argue the same points as they did

     pertaining to the prior complaint, which threatens to confuse the court. Thus, they are trying to engage in a

     motion to dismiss based on the old complaint and using the objection to the motion to amend the complaint

     to try to get the court to reach issues that are no longer before the court in the proposed complaint. This is

     clever subterfuge. Defendants have thus filed their objection, not in good faith, including but not limited to

     simply regurgitating irrelevant swaths of their prior stayed motion to dismiss, without even correcting many of

     the arguments in it to take into account the changes to the new proposed complaint. This is unfair/prejudicial.

11. Similarly, given that the prior pending motion to dismiss is stayed, this is tantamount to an attempt at an end-

     run around the stay of the motions to dismiss; and I can’t defend against this attempt at an end-run, without

     having a full opportunity to litigate the prior pending motions to dismiss. This is thus a procedural quagmire.


bad faith, dilatory motive, futility of amendment, prejudice), we will not affirm it. Grant v. News Group Boston, Inc., 55 F.3d 1, 5 (1st Cir. 1995).”…“The
Gold standard, which requires that proposed amendments have substantial merit and be supported by substantial and convincing evidence, is inapplicable for
several reasons. To date, it has only been applied where the motion to amend is made after a defendant has moved for summary judgment. See e.g., Gold, 30 F.3d
at 253; Torres-Matos v. St. Lawrence Garment Co., 901 F.2d 1144, 1146 (1st Cir. 1990); Cowen v. Bank United of Texas, FSB, 1995 WL 38978, *9
(N.D. Ill.), aff'd 70 F.3d 937 (7th Cir. 1995); Carey v. Beans, 500 F. Supp. 580, 582 (E.D. Pa. 1980), aff'd, 659 F.2d 1065 (3d Cir. 1981); Artman
v. International Harvester Co., 355 F. Supp. 476, 481 (W.D. Pa. 1972). In that context, a plaintiff's motion to amend is an attempt to alter the shape of the
case in order to defeat summary judgment.”
See also Steir v. Girl Scouts of the USA, 383 F.3d 7, 12 (1st Cir. 2004) stating: “Thereafter, the permission of the court or the consent of the opposing
party is required. The default rule mandates that leave to amend is to be "freely given when justice so requires," id., unless the amendment "would be futile, or
reward, inter alia, undue or intended delay." Resolution Trust Corp. v. Gold, 30 F.3d 251, 253 (1st Cir. 1994). As a case progresses, and the issues are
joined, the burden on a plaintiff seeking to amend a complaint becomes more exacting. Scheduling orders, for example, typically establish a cut-off date for
amendments (as was apparently the case here). Once a scheduling order is in place, the liberal default rule is replaced by the more demanding "good cause" standard
of Fed.R.Civ.P. 16(b). O'Connell v. Hyatt Hotels of P.R., 357 F.3d 152, 154-155 (1st Cir. 2004).
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12. The court has not made any ruling on the prior stayed motions to dismiss and, in fact, the prior motions to

   dismiss are stayed, with a response still to be forthcoming from me to the stayed motions to dismiss once the

   stay is lifted; it would be unfair for the court to make its first ruling on the prior pending motion to dismiss

   issues, through its ruling on a motion to amend the complaint. Ostensibly, given this maneuver by defendants,

   the court cannot use these objections to resolve the motion to amend the complaint, without effectively ruling

   on the portions of the stayed motions to dismiss, which would be extremely unfair and prejudicial to me.

13. NB: The prior complaint is a nullity for purposes of any motion to dismiss or at/prior to the motion to dismiss

   stage. This means that the objections cannot address things in the prior complaint that are not in the new

   complaint. See also L.R. 15.1 which states: ·(IIHFWRIDQ$PHQGHG&RPSODLQW:KHQDSODLQWLIIILOHVDQD

   as of right or with leave of court after the filing of a motion to dismiss for failure to state a claim, the motion to dismiss shall be

   automatically denied without prejudice and the defendant(s) shall respond to the amended complaint as may be appropriate under

   )HG5&LY3ZLWKLQWKHWLPHDOORZHGXQGHU)HG5&LY3D
                                        This means that defendants cannot use the

   motions to dismiss as objections to the motion to amend the complaint, and their objections to the motion to

   amend the complaint cannot be used, effectively, as motions to dismiss. The only place that motion to dismiss

   arguments can be proffered is in a proper response to the allowed amended complaint, which is to then be

   filed/re-filed under Rule 12, if so desired. It’s totally improper to file motion to dismiss arguments in objections

   to a motion to amend the complaint, as it conflates and confuses the issues and the legal standards, and results

   in significant prejudice to me as plaintiff. The court cannot evaluate any such motion to dismiss type arguments

   without resolving the pending stayed motions related to choice of law, motions to strike, motion for discovery,

   and allowing full motion practice related to the prior stayed motions to dismiss including my stayed reply which

   has not been filed yet due to the stay. In their objection, defendants should have focused their arguments on

   the key threshold factors that go towards negating the liberal generous standard for amendments, namely

   timeliness, prejudice, and futility. The Hilliard defendants have neglected to address these factors, except for

   futility, but they have misused futility in an overbroad sense to argue motion to dismiss type arguments across

   the board (they essentially reprinted portions of the motion to dismiss and retitled it as an objection to the

   motion to amend the complaint) that now require the court to engage in a motion to dismiss analysis in order

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   to resolve the motion to amend the complaint. But in this instance the court cannot engage in a motion to

   dismiss type analysis of the proposed complaint, without addressing the stayed motion to dismiss arguments,

   and the stayed motion to dismiss cannot be addressed until the stay is lifted, and until after I’m allowed to

   reply to the stayed motion to dismiss as well as to the stayed objections to the several stayed pending motions

   that I filed in fall 2023 (including choice of law, two motions to strike, motion for limited discovery, etc.).

   Without this, it would lead to an absurd result where the court would have to take positions on prior motion

   to dismiss arguments as applied to the new proposed complaint, and if the court denies the motion to amend

   the complaint, then the court would then be left to address the same motion to dismiss arguments once again

   as applied to the prior complaint, but in that event the court could not consider the prior complaint with fresh

   eyes because it would be boxed in by positions it took on the motion to dismiss issues as applied to the new

   complaint. This is a topsy turvy situation and is putting the cart before the horse. I ask the court to pause and

   consider what I’m trying to say. I may not have the exact right words to precisely describe the problem here

   but I trust the court can understand what it is that I am trying to get at and that ultimately the above will result

   in a trap for me and will be prejudicial to me. Defendants should not be allowed to game the system.

14. NB: The Hilliard defendants do not argue statute of limitations. They evidently concede that there are no

   statute of limitations argument. This contradicts the Donais defendants’ position.

15. Contrary to the objection, the absolute privilege does not apply. If the allegations in the proposed complaint

   are true (which they are true and the Hilliard defendants cannot deny or dispute this at this stage), then the

   absolute legal privilege doesn’t preclude my causes of action against the Hilliard defendants. It should be noted

   that the Hilliard defendants here engaged in sleight of hand, by referencing the amended complaint in an

   ambiguous way, not making clear whether they refer to the newly proposed complaint or the prior complaint

   that was first amended before service of process in state court. If they intend to reference the new proposed

   complaint, then their characterization that the amended complaint ·VWDWHVWKURXJKRXWLWVOHQJWK\D

   DOOHJHGGDPDJHVFDXVHGE\+LOOLDUGDULVHRXWRIKLVSULRUUHSUHVHQWDWLRQRI&UDL
                                                              is false

   or misleading. The newly proposed complaint does no such thing and where the defendants cite a sentence

   from a paragraph in my complaint, it is taken out of context or edited and misstated.

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16. I’ve clearly stated that I’m not seeking any claim that involves a statement to a court, to the ADO or

   made in a judicial proceeding. The Hilliard defendants cannot reinterpret/misinterpret my proposed

   complaint to make it say something that it does not say. The Hilliard defendants seem to respond to the first

   complaint, and not the proposed complaint, and are acting as though the things in the first complaint, are in

   the proposed complaint. By doing this, they are effectively trying to deny me the chance to amend the

   complaint, by using the things in the first complaint as grounds to deny the motion to amend the complaint.

   This is circular reasoning. My proposed complaint also centers on statements made to family members, to

   colleagues, to other lawyers in a non-judicial capacity or context, or in a business context, etc. None of these

   statements can be said to even come close to being within the penumbra of any kind of immunity. These are

   statements by Hilliard not made in the context of any representation of Donais.

17. Contrary to the objection, aiding and abetting defamation is a recognized claim both in MA and NH. I do not

   agree that the “claim is not recognized by New Hampshire courts”, or that “even if it were, Plaintiff fails to state a claim”.

   First, it should be noted that defendants are invoking a choice of law argument. But the choice of law issue

   cannot be resolved here when there is a prior pending motion to declare choice of law that has been stayed

   and which the court stated would only be addressed if/once the stay on the motion to dismiss was lifted. The

   court should allow the amendment to the complaint and then invite defendants to file a new motion to dismiss,

   and also invite plaintiff to refile any related pending motion, including the choice of law motion, etc., and then

   address choice of law issues as part of the motions to dismiss and of all of the related pending/stayed motions,

   as well. To address the choice of law issue now would be premature and prejudicial to me as plaintiff.

18. Contrary to the objection, in count 4, I did allege that Hilliard had an “active role” in publication of false

   statements to police in August 2020. I literally said that in para. 462. I also alleged that Hilliard “drafted,

   reviewed, offered revisions or edits” to a defamatory email on which Hilliard was subsequently copied. These

   are, among others, substantive allegations regarding Hilliard’s specific role in the defamatory acts. But

   defendants play words games by asserting that I need to allege precisely which parts of the defamatory email

   Hilliard contributed to, in order to “make the email defamatory”. This is a ridiculous standard. The exact

   precision between Hilliard’s contribution and Donais’ contribution in the defamatory email is not required to

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   allege defamation. This is an extremely high or heightened pleading requirement that isn’t required under the

   law. Defendants are trying to make it impossible to plead any claim against the defendants. Also, I never said

   that because Hilliard was previously counsel to Donais, and is older than Donais, that somehow this itself gives

   rise to liability. This is a twisting of my words.

19. Similarly, for count 5, I did allege that Hilliard “knew” of the contractual or advantageous relations with the

   police and with others who he interfered with. See para. 305, 309, 494, 496, 501-507. I alleged there was

   contract or advantageous relations, who it was with, and the nature of the contract. I thus alleged sufficient

   facts of interference with contract or advantageous relations. Similarly, why are defendants asserting that I

   cannot allege sufficient elements of the claim? If all I need, according to them, is to disclose the minute details

   of the contract, then it is certainly possibly that I could allege sufficient details about the contract. Moreover,

   Hilliard is not a party to the contract, so he cannot say there is no contract. This would just be a matter of a

   more definitive pleading. See Manning v. Bos. Med. Ctr. Corp., 725 F.3d 34, 65 (1st Cir. 2013) (“A plaintiff

   cannot know everything about a defendant's potentially wrongful conduct, especially when it comes to the inner workings of a

   corporate or institutional defendant. Thus, our post-7ZRPEO\FDVHVKDYHUHFRJQL]HGWKDW·¶VRPHODWLWXGH•
                                                                                           riate where

   DSODXVLEOHFODLPPD\EHLQGLFDWHG¶EDVHGRQZKDWLVNQRZQ•DWOHDVWZKHUH ¶VRPHR

   FRQWURORI>WKH@GHIHQGDQWV•0HQDUG)GDWTXRWLQJ3UXHOO)GDW
                                               .). Hilliard knew of the contract

   with the police. He also knew of the contract with others mentioned in the proposed complaint. Hilliard

   collaborated with Donais in causing the interference. See para. 306. Defendants have nothing to say about the

   other contract interference nor about the advantageous relations, which silence is deafening and is a tacit

   admission. This further shows why the insurance carriers knew they’re liable and thus violated section 176D.

20. Moreover, it isn’t futile to add the John Doe defendants. If I were to file a separate lawsuit against the John

   Doe defendants, it wouldn’t be futile to do so. Filing a separate lawsuit wouldn’t be subject to these type of

   arguments. The only thing that could be done is to seek dismissal but I couldn’t be prevented from filing the

   lawsuit in the first place. In fact, if amendment is denied, I could simply file a separate lawsuit. It meets judicial

   economy to allow this claim in, and then resolve it upon a properly filed new motion to dismiss. It shouldn’t




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   be resolved upon an amendment motion. The court can’t find that it’s futile. without knowing further facts

   underlying the claim, and many of the facts are in the control of defendants. It would be unfair to do so.

21. I did advance support for my belief that liability is reasonably clear. The Hilliard defendants asserts that no

   violation of 176D occurred “because no violation occurred”. This is tautological and circular, as well as self-

   serving and one-sided. Moreover, the Hilliard defendants can’t challenge the claims against John Doe

   companies. Counsel for Hilliard defendants has stated that they don’t represent John Doe companies, will not

   receive legal documents or letters for John Doe companies. See Exhibit 1. Thus, they cannot speak for John

   Doe companies. Only John Doe companies can speak for themselves. Counsel for Hilliard defendants want

   to have it both ways. They evidently wanted to play games with identifying the name of the companies and

   then claim that they do not represent the John Doe companies, while at the same time trying to make defensive

   arguments for John Doe companies. This is not right or fair. We need to hear from counsel for John Doe

   companies. The Hilliard defendants can’t assert that adding John Doe companies and attendant 176D claims,

   are futile (i.e., because liability is not reasonably clear), when the underlying facts are not disputed nor can be

   disputed at this stage. Similarly, even if the facts could be disputed, it can’t be disputed by counsel for Hilliard

   defendants because they don’t represent John Doe companies. Here, defendants are in possession of info.

   pertinent to this issue but play hide the ball, saying that I didn’t present enough info. while hiding said info.

22. Moreover, my attempt to add a Massachusetts resident is not improper and is not to “destroy diversity”. The

   Hilliard defendants concede that addition of John Doe defendants are not done with the sole purpose of

   destroying diversity (i.e., “furthermore, the attempts to add certain defendants are done, in part, to destroy diversity.”). In

   fact, the Donais defendants actually plainly admit that adding them doesn’t destroy diversity. Even so, adding

   defendants to destroy diversity isn’t prohibited. It simply calls for further scrutiny on whether the court should

   allow amendment. Diversity is only relevant primarily for remand. But the court already denied remand. So the

   issue is moot. Also, the court stated that it declined to allow remand discovery, regarding diversity issues,

   because diversity isn’t necessary here to establish jurisdiction since federal question jurisdiction is established.

   Defendants can’t benefit from the court’s position that diversity isn’t necessary and then use diversity as a basis

   to deny amendment. Contrary to the objection, amendment here wouldn’t defeat removal jurisdiction.

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23. The court previously knew or was aware that I intended to add parties by amendment including a non-diverse

   party. I literally stated this in my various objections to the motions to dismiss, both in MA federal court as well

   as in this court. Yet, the court made statements in the 11-30-23 hearing, that I should re-file the motion to

   amend and proposed complaint and provide reasons for adding parties. The court thus confirmed that it was

   aware or was expecting that I would be adding parties, namely the insurance companies and a non-diverse

   party. Yet, the court told me to provide the reasons for addition. The court has been well aware that these

   parties would be added via amendment to the complaint. Similarly, my attempts to add John Doe defendants

   aren’t futile. I’ve sufficiently alleged they are Massachusetts corporations (see para. 670 & 674 of proposed

   complaint). I’ll be harmed by them not being added to the case.

24. With respect to Beatriz Van Meek (“Van Meek”), I have justified why I’m seeking to add her as a defendant.

   Van Meek is a necessary party because she was relevant to the claims involving conspiracy with Donais to

   injure me. Moreover, the defendants’ reference to “nearly two years after filing his initial Complaint in this matter” is

   misleading and stated out of context. This is not true. I didn’t delay. I filed my motion to amend complaint

   shortly after I served process in state court, and promptly upon removal to federal court by defendants,

   including stating my intent to add parties. Moreover, I was hindered in adding the insurance companies because

   I didn’t know their identities and have been seeking to uncover their identities including seeking it from

   defendants who have evaded disclosure to this day. After it became clear that it ‘s futile to obtain the identities,

   I resorted to a failsafe approach of adding them as “John Doe” companies, to preserve my rights and preserve

   statute of limitations. Defendants blocked me from adding parties by blocking info. that should’ve been

   provided, but they’ve obstructed me and now they seek to blame me for their obstruction.

25. This court doesn’t lack jurisdiction over Van Meek. It’s possible she could waive personal jurisdiction, which

   is a waivable defense. Her actions could implicate the jurisdiction of this court. The court can’t deny

   amendment on grounds of personal jurisdiction when no such defense by the affected party has been advanced.

   See again Exhibit 1. Just because she is a Massachusetts resident, it doesn’t mean the court doesn’t have

   jurisdiction over her. Moreover, defendants told the court that it wouldn’t mount a personal jurisdiction




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      defense in this case and that it is waived. Defendants are prohibited from raising any personal jurisdiction

      defense. Thus, they can’t assert a personal jurisdiction defense for Van Meek since they don’t represent her.

26. Moreover, defendants can’t advance new defenses in an objection to a motion to amend complaint because

      the defendants already advanced two motions to dismiss already. It’s unfair because I can only object to these

      new defenses in a reply to the objection to amend (which has less pages to do so) rather than in an objection

      to a motion to dismiss. This creates a structural disadvantage for me and gives defendants the upper hand

      procedurally, by severely limiting the playing field on which I can engage such motion to dismiss defenses.

27. Moreover, I didn’t allege that she is a clerk in the Massachusetts Superior Court. The court can’t deny

      amendment based on defendants purporting new info. that I didn’t allege. Similarly, she isn’t immune from

      suit. No claim alleged implicates any tasks performed that “are inextricably intertwined with the judicial function”.

      Moreover, no allegations in the proposed complaint implicate absolute immunity. Either way, a clerk doesn’t

      automatically have absolute immunity, as her actions must be at the direction of a judge; otherwise, a clerk only

      can have qualified immunity as automatic presumption, but such presumption is subject to factual inquiry and

      not automatically dispositive, at the motion to dismiss stage. I’ll be harmed by denial of my motion to amend.

28. The civil conspiracy claim also doesn’t fail to state a claim. See para. 579-583. Also, Hilliard fraudulently

      misrepresented/induced me regarding settlement negotiations with other parties, to sabotage the settlement,

      and deceived me into fake negotiations, towards to a common tortious plan intended to injure me.

29. The charge that my proposed claims are futile because they fail to state a claim is conclusory and self-serving.

30. Defendants won’t be prejudiced by amendment as they’ll be free to file a new motion to dismiss.

31. Please liberally construe and grant my request or any other relief the court deems proper2.

                                                                                                                  Respectfully submitted,
                                                                                                                      /s/ Andre Bisasor
Date filed: May 13, 2024                                                                                                  Andre Bisasor
Date corrected3: May 14, 2024


2 2
    I hereby also request discovery and sanctions as shown in Exhibits 2 & 3, which are incorporated herein. [NB: See also Donais
defendants’ objections to discovery and sanctions, which further proves the need for discovery and shows they are blatantly dodging
addressing the fact that they have lied to the court]. I also intend to move to strike this objection, or portions thereof, which will be
forthcoming shortly after submission of this reply. I also incorporate my motion to amend complaint + my related filings. See Exhibit
4 for reply to Donais defendants’ objection to the motion to amend complaint, which is incorporated herein by reference.
3 In light of the clerks’ notice of filing error today, this correction is made for exhibits/exhibit description, and also for errors found after

further review, including typos, grammatical errors, missing words/sentences. It is made promptly the next day. Please accept this version.
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                             CERTIFICATE OF SERVICE
     I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                     /s/ Andre Bisasor
                                                                                         Andre Bisasor




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                      UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                         ANDRE BISASOR, Plaintiff,
                                                      v.
                     CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                          UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                           Case No.1:23-cv-00374-JL
  [CORRECTED] PLAINTIFF’S REPLY TO THE HILLIARD DEFENDANTS’ OBJECTION TO
       PLAINTIFF’S RE-SUBMITTED MOTION TO AMEND THE STATE COMPLAINT
1. This is a reply to Hilliard defendants’ objection to my motion to amend complaint (“proposed complaint”).

2. NB: I below provide specific responses or rebuttals to Hilliard defendants’ objection (“objection”).

3. Contrary to the objection, my proposed complaint is not futile. Also, it’s noteworthy the Hilliard defendants

   do not offer any objection to removal of claims against them in the proposed complaint. It certainly is a benefit

   for the claims against them to be reduced and streamlined via amendment. Also, I amended my complaint

   once in state court before service of process, but not in federal court. This supports the granting of the motion.

4. Contrary to objection, my motion to amend should not be denied for failure to state a claim upon which relief

   may be granted. A court may not dismiss or deny a complaint for failure to state a claim unless it appears

   beyond doubt that a plaintiff can prove no set of facts in support of his claims which would entitle him to

   relief. The Fed.R.Civ.P. 8(a)) standard contains a powerful presumption against rejecting pleadings for failure

   to state a claim. All that is required are sufficient allegations to put defendants fairly on notice of the claims

   against them. The issue is not whether a plaintiff will ultimately prevail but whether the claimant is entitled to

   offer evidence to support the claims. At this stage, the district court must resolve any ambiguities in plaintiffs’

   favor. Pro se complaints, however inartfully pleaded, are held to less stringent standards than formal pleadings

   drafted by lawyers. The court must construe the pleading liberally and must afford [pro se] plaintiff the benefit

   of any doubt, viewing such submissions by a more lenient standard. Haines v. Kerner, 404 U.S. 519, 520

   (1972)). The court is obligated to “‘make reasonable allowances to protect Pro Se litigants'” from inadvertently

   forfeiting legal rights merely because they lack a legal education. Triestman v. Fed. Bureau of Prisons, 470 F.3d

   471, 475 (2d Cir. 2006). The court must continue to “construe [a complaint] broadly, and interpret [it] to raise

   the strongest arguments that [it] suggests.” Weixel v. Bd. of Educ., 287 F.3d 139, 146 (2d Cir. 2002). The

   proposed complaint in this case has carefully laid out more than sufficient facts that indicate that defendants

   are liable and that the claims against them are colorable.


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5. Pro se litigants are allowed more latitude than litigants represented by counsel to correct defects in service of

     process and pleadings. Thus, even if defendants quibble with the technical form of my pleading, it still

     adequately states a claim and should not be denied or dismissed under Rule 12(b)(6) or Fed.R.Civ.P. 8(a)(2).

     The US Supreme Court has held the pleading standard under Fed.R.Civ.P. 8(a)(2) requires a statement that

     gives defendant fair notice of what plaintiff's claim is. The proposed complaint in this case has done just that.

     To the extent that the proposed complaint is alleged to be verbose, as suggested by defendants, pro se leniency

     mandates the case or proposed complaint not be denied or dismissed on hyper-technical pleading grounds.

6. Contrary to the objection, the liberal standard for amendments means a liberal standard. It should be noted

     that the Hilliard defendants concede that there is no issue regarding delay, bad faith, or absence of due

     diligence. The only issue they focus on is futility. It should be similarly noted that the court has read the

     previously filed motion to amend the complaint and the related statements/arguments seeking amendment via

     my objections to the motions to dismiss and the motions to strike, all filed in the fall of 2023. It would be

     draconian for the court to then invite me to file the proposed amended complaint, only to deny the amendment

     of the complaint on grounds of bad faith, delay, or lack of diligence, when it could have signaled that these

     were problems in the 11-23-hearing and in the 12-1-23 order. Here, the only question is whether it is futile.

7. However, contrary to the objection, defendants cannot invoke a rule 12b motion to dismiss standard here

     because there has been no dismissal of any claims by the court prior to this point. The court explicitly stated

     that the amended complaint would moot any pending motion to dismiss. Thus, the court avoided ruling on

     the prior pending stayed motions to dismiss, to allow the amended complaint to be filed, with the objective or

     understanding that the defendants would, if they so desire, file a new motion to dismiss to the new complaint.

8. NB: The Hilliard defendants’ reference to the Glassman case is inaccurate because that applied to a situation

     where the motion to dismiss stage had already passed and the case was at a summary judgment stage. The

     assessment of futility under a rule 12b standard in Glassman was based on the filing of a motion to amend

     during the summary judgment stage, after discovery had been completed.1 This is not applicable here.

1 See Glassman v. Computervision Corp., 90 F.3d 617, 623 (1st Cir. 1996) stating: “Denial of a motion to file an amended complaint is reviewed

for abuse of discretion. See Romani v. Shearson Lehman Hutton, 929 F.2d 875, 880 (1st Cir. 1991); Arazie v. Mullane, 2 F.3d 1456, 1464-65 (7th Cir.
1993) (noting, however, that the relevant pleading standards must be kept in mind when applying the abuse of discretion standard). Rule 15(a) provides that
"leave [to amend] shall be freely given when justice so requires." Unless there appears to be an adequate reason for the denial of leave to amend (e.g., undue delay,
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9. Contrary to the objection, the proposed amended complaint is not futile. First, it should be noted that it would

     be illogical for the court to deny amendment of the complaint, only to then revert back to the original

     complaint, and then, upon lifting the stay on the motions to dismiss, proceed to adjudicate whether some of

     the claims I removed from the complaint, should then be dismissed (i.e., claims which would’ve been self-

     removed if amendment was allowed). Self-removal via amendment is judicially more efficient than dismissal.

10. Here, in their objection, the Hilliard defendants refer to or repeat some of the arguments made in their motion

     to dismiss. Defendants also have used their objection to engage in disputation of facts, which isn’t permitted

     at this stage. Further, the defendants insert new facts outside the proposed complaint, which again isn’t

     permitted at this stage. They also appear to unfairly regurgitate entire portions of their prior (stayed) motions

     to dismiss and thus the defendants appear to be trying to get their objections to the motion to amend the

     complaint, to be treated wholly as ‘defacto’ motions to dismiss. They in fact argue the same points as they did

     pertaining to the prior complaint, which threatens to confuse the court. Thus, they are trying to engage in a

     motion to dismiss based on the old complaint and using the objection to the motion to amend the complaint

     to try to get the court to reach issues that are no longer before the court in the proposed complaint. This is

     clever subterfuge. Defendants have thus filed their objection, not in good faith, including but not limited to

     simply regurgitating irrelevant swaths of their prior stayed motion to dismiss, without even correcting many of

     the arguments in it to take into account the changes to the new proposed complaint. This is unfair/prejudicial.

11. Similarly, given that the prior pending motion to dismiss is stayed, this is tantamount to an attempt at an end-

     run around the stay of the motions to dismiss; and I can’t defend against this attempt at an end-run, without

     having a full opportunity to litigate the prior pending motions to dismiss. This is thus a procedural quagmire.


bad faith, dilatory motive, futility of amendment, prejudice), we will not affirm it. Grant v. News Group Boston, Inc., 55 F.3d 1, 5 (1st Cir. 1995).”…“The
Gold standard, which requires that proposed amendments have substantial merit and be supported by substantial and convincing evidence, is inapplicable for
several reasons. To date, it has only been applied where the motion to amend is made after a defendant has moved for summary judgment. See e.g., Gold, 30 F.3d
at 253; Torres-Matos v. St. Lawrence Garment Co., 901 F.2d 1144, 1146 (1st Cir. 1990); Cowen v. Bank United of Texas, FSB, 1995 WL 38978, *9
(N.D. Ill.), aff'd 70 F.3d 937 (7th Cir. 1995); Carey v. Beans, 500 F. Supp. 580, 582 (E.D. Pa. 1980), aff'd, 659 F.2d 1065 (3d Cir. 1981); Artman
v. International Harvester Co., 355 F. Supp. 476, 481 (W.D. Pa. 1972). In that context, a plaintiff's motion to amend is an attempt to alter the shape of the
case in order to defeat summary judgment.”
See also Steir v. Girl Scouts of the USA, 383 F.3d 7, 12 (1st Cir. 2004) stating: “Thereafter, the permission of the court or the consent of the opposing
party is required. The default rule mandates that leave to amend is to be "freely given when justice so requires," id., unless the amendment "would be futile, or
reward, inter alia, undue or intended delay." Resolution Trust Corp. v. Gold, 30 F.3d 251, 253 (1st Cir. 1994). As a case progresses, and the issues are
joined, the burden on a plaintiff seeking to amend a complaint becomes more exacting. Scheduling orders, for example, typically establish a cut-off date for
amendments (as was apparently the case here). Once a scheduling order is in place, the liberal default rule is replaced by the more demanding "good cause" standard
of Fed.R.Civ.P. 16(b). O'Connell v. Hyatt Hotels of P.R., 357 F.3d 152, 154-155 (1st Cir. 2004).”
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12. The court has not made any ruling on the prior stayed motions to dismiss and, in fact, the prior motions to

   dismiss are stayed, with a response still to be forthcoming from me to the stayed motions to dismiss once the

   stay is lifted; it would be unfair for the court to make its first ruling on the prior pending motion to dismiss

   issues, through its ruling on a motion to amend the complaint. Ostensibly, given this maneuver by defendants,

   the court cannot use these objections to resolve the motion to amend the complaint, without effectively ruling

   on the portions of the stayed motions to dismiss, which would be extremely unfair and prejudicial to me.

13. NB: The prior complaint is a nullity for purposes of any motion to dismiss or at/prior to the motion to dismiss

   stage. This means that the objections cannot address things in the prior complaint that are not in the new

   complaint. See also L.R. 15.1 which states: “Effect of an Amended Complaint. When a plaintiff files an amended complaint

   as of right or with leave of court after the filing of a motion to dismiss for failure to state a claim, the motion to dismiss shall be

   automatically denied without prejudice and the defendant(s) shall respond to the amended complaint as may be appropriate under

   Fed. R. Civ. P. 12, within the time allowed under Fed. R. Civ. P. 15(a).” This means that defendants cannot use the

   motions to dismiss as objections to the motion to amend the complaint, and their objections to the motion to

   amend the complaint cannot be used, effectively, as motions to dismiss. The only place that motion to dismiss

   arguments can be proffered is in a proper response to the allowed amended complaint, which is to then be

   filed/re-filed under Rule 12, if so desired. It’s totally improper to file motion to dismiss arguments in objections

   to a motion to amend the complaint, as it conflates and confuses the issues and the legal standards, and results

   in significant prejudice to me as plaintiff. The court cannot evaluate any such motion to dismiss type arguments

   without resolving the pending stayed motions related to choice of law, motions to strike, motion for discovery,

   and allowing full motion practice related to the prior stayed motions to dismiss including my stayed reply which

   has not been filed yet due to the stay. In their objection, defendants should have focused their arguments on

   the key threshold factors that go towards negating the liberal generous standard for amendments, namely

   timeliness, prejudice, and futility. The Hilliard defendants have neglected to address these factors, except for

   futility, but they have misused futility in an overbroad sense to argue motion to dismiss type arguments across

   the board (they essentially reprinted portions of the motion to dismiss and retitled it as an objection to the

   motion to amend the complaint) that now require the court to engage in a motion to dismiss analysis in order

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   to resolve the motion to amend the complaint. But in this instance the court cannot engage in a motion to

   dismiss type analysis of the proposed complaint, without addressing the stayed motion to dismiss arguments,

   and the stayed motion to dismiss cannot be addressed until the stay is lifted, and until after I’m allowed to

   reply to the stayed motion to dismiss as well as to the stayed objections to the several stayed pending motions

   that I filed in fall 2023 (including choice of law, two motions to strike, motion for limited discovery, etc.).

   Without this, it would lead to an absurd result where the court would have to take positions on prior motion

   to dismiss arguments as applied to the new proposed complaint, and if the court denies the motion to amend

   the complaint, then the court would then be left to address the same motion to dismiss arguments once again

   as applied to the prior complaint, but in that event the court could not consider the prior complaint with fresh

   eyes because it would be boxed in by positions it took on the motion to dismiss issues as applied to the new

   complaint. This is a topsy turvy situation and is putting the cart before the horse. I ask the court to pause and

   consider what I’m trying to say. I may not have the exact right words to precisely describe the problem here

   but I trust the court can understand what it is that I am trying to get at and that ultimately the above will result

   in a trap for me and will be prejudicial to me. Defendants should not be allowed to game the system.

14. NB: The Hilliard defendants do not argue statute of limitations. They evidently concede that there are no

   statute of limitations argument. This contradicts the Donais defendants’ position.

15. Contrary to the objection, the absolute privilege does not apply. If the allegations in the proposed complaint

   are true (which they are true and the Hilliard defendants cannot deny or dispute this at this stage), then the

   absolute legal privilege doesn’t preclude my causes of action against the Hilliard defendants. It should be noted

   that the Hilliard defendants here engaged in sleight of hand, by referencing the amended complaint in an

   ambiguous way, not making clear whether they refer to the newly proposed complaint or the prior complaint

   that was first amended before service of process in state court. If they intend to reference the new proposed

   complaint, then their characterization that the amended complaint “states throughout its lengthy allegations that the

   alleged damages caused by Hilliard arise out of his prior representation of Craig Donais in a matter regarding Bisasor,” is false

   or misleading. The newly proposed complaint does no such thing and where the defendants cite a sentence

   from a paragraph in my complaint, it is taken out of context or edited and misstated.

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16. I’ve clearly stated that I’m not seeking any claim that involves a statement to a court, to the ADO or

   made in a judicial proceeding. The Hilliard defendants cannot reinterpret/misinterpret my proposed

   complaint to make it say something that it does not say. The Hilliard defendants seem to respond to the first

   complaint, and not the proposed complaint, and are acting as though the things in the first complaint, are in

   the proposed complaint. By doing this, they are effectively trying to deny me the chance to amend the

   complaint, by using the things in the first complaint as grounds to deny the motion to amend the complaint.

   This is circular reasoning. My proposed complaint also centers on statements made to family members, to

   colleagues, to other lawyers in a non-judicial capacity or context, or in a business context, etc. None of these

   statements can be said to even come close to being within the penumbra of any kind of immunity. These are

   statements by Hilliard not made in the context of any representation of Donais.

17. Contrary to the objection, aiding and abetting defamation is a recognized claim both in MA and NH. I do not

   agree that the “claim is not recognized by New Hampshire courts”, or that “even if it were, Plaintiff fails to state a claim”.

   First, it should be noted that defendants are invoking a choice of law argument. But the choice of law issue

   cannot be resolved here when there is a prior pending motion to declare choice of law that has been stayed

   and which the court stated would only be addressed if/once the stay on the motion to dismiss was lifted. The

   court should allow the amendment to the complaint and then invite defendants to file a new motion to dismiss,

   and also invite plaintiff to refile any related pending motion, including the choice of law motion, etc., and then

   address choice of law issues as part of the motions to dismiss and of all of the related pending/stayed motions,

   as well. To address the choice of law issue now would be premature and prejudicial to me as plaintiff.

18. Contrary to the objection, in count 4, I did allege that Hilliard had an “active role” in publication of false

   statements to police in August 2020. I literally said that in para. 462. I also alleged that Hilliard “drafted,

   reviewed, offered revisions or edits” to a defamatory email on which Hilliard was subsequently copied. These

   are, among others, substantive allegations regarding Hilliard’s specific role in the defamatory acts. But

   defendants play words games by asserting that I need to allege precisely which parts of the defamatory email

   Hilliard contributed to, in order to “make the email defamatory”. This is a ridiculous standard. The exact

   precision between Hilliard’s contribution and Donais’ contribution in the defamatory email is not required to

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   allege defamation. This is an extremely high or heightened pleading requirement that isn’t required under the

   law. Defendants are trying to make it impossible to plead any claim against the defendants. Also, I never said

   that because Hilliard was previously counsel to Donais, and is older than Donais, that somehow this itself gives

   rise to liability. This is a twisting of my words.

19. Similarly, for count 5, I did allege that Hilliard “knew” of the contractual or advantageous relations with the

   police and with others who he interfered with. See para. 305, 309, 494, 496, 501-507. I alleged there was

   contract or advantageous relations, who it was with, and the nature of the contract. I thus alleged sufficient

   facts of interference with contract or advantageous relations. Similarly, why are defendants asserting that I

   cannot allege sufficient elements of the claim? If all I need, according to them, is to disclose the minute details

   of the contract, then it is certainly possibly that I could allege sufficient details about the contract. Moreover,

   Hilliard is not a party to the contract, so he cannot say there is no contract. This would just be a matter of a

   more definitive pleading. See Manning v. Bos. Med. Ctr. Corp., 725 F.3d 34, 65 (1st Cir. 2013) (“A plaintiff

   cannot know everything about a defendant's potentially wrongful conduct, especially when it comes to the inner workings of a

   corporate or institutional defendant. Thus, our post-Twombly cases have recognized that “ ‘some latitude’ may be appropriate where

   a plausible claim may be indicated ‘based on what is known,’ at least where ... ‘some of the information needed may be in the

   control of [the] defendants.’ ” Menard, 698 F.3d at 45 (quoting Pruell, 678 F.3d at 15)”.). Hilliard knew of the contract

   with the police. He also knew of the contract with others mentioned in the proposed complaint. Hilliard

   collaborated with Donais in causing the interference. See para. 306. Defendants have nothing to say about the

   other contract interference nor about the advantageous relations, which silence is deafening and is a tacit

   admission. This further shows why the insurance carriers knew they’re liable and thus violated section 176D.

20. Moreover, it isn’t futile to add the John Doe defendants. If I were to file a separate lawsuit against the John

   Doe defendants, it wouldn’t be futile to do so. Filing a separate lawsuit wouldn’t be subject to these type of

   arguments. The only thing that could be done is to seek dismissal but I couldn’t be prevented from filing the

   lawsuit in the first place. In fact, if amendment is denied, I could simply file a separate lawsuit. It meets judicial

   economy to allow this claim in, and then resolve it upon a properly filed new motion to dismiss. It shouldn’t




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   be resolved upon an amendment motion. The court can’t find that it’s futile. without knowing further facts

   underlying the claim, and many of the facts are in the control of defendants. It would be unfair to do so.

21. I did advance support for my belief that liability is reasonably clear. The Hilliard defendants asserts that no

   violation of 176D occurred “because no violation occurred”. This is tautological and circular, as well as self-

   serving and one-sided. Moreover, the Hilliard defendants can’t challenge the claims against John Doe

   companies. Counsel for Hilliard defendants has stated that they don’t represent John Doe companies, will not

   receive legal documents or letters for John Doe companies. See Exhibit 1. Thus, they cannot speak for John

   Doe companies. Only John Doe companies can speak for themselves. Counsel for Hilliard defendants want

   to have it both ways. They evidently wanted to play games with identifying the name of the companies and

   then claim that they do not represent the John Doe companies, while at the same time trying to make defensive

   arguments for John Doe companies. This is not right or fair. We need to hear from counsel for John Doe

   companies. The Hilliard defendants can’t assert that adding John Doe companies and attendant 176D claims,

   are futile (i.e., because liability is not reasonably clear), when the underlying facts are not disputed nor can be

   disputed at this stage. Similarly, even if the facts could be disputed, it can’t be disputed by counsel for Hilliard

   defendants because they don’t represent John Doe companies. Here, defendants are in possession of info.

   pertinent to this issue but play hide the ball, saying that I didn’t present enough info. while hiding said info.

22. Moreover, my attempt to add a Massachusetts resident is not improper and is not to “destroy diversity”. The

   Hilliard defendants concede that addition of John Doe defendants are not done with the sole purpose of

   destroying diversity (i.e., “furthermore, the attempts to add certain defendants are done, in part, to destroy diversity.”). In

   fact, the Donais defendants actually plainly admit that adding them doesn’t destroy diversity. Even so, adding

   defendants to destroy diversity isn’t prohibited. It simply calls for further scrutiny on whether the court should

   allow amendment. Diversity is only relevant primarily for remand. But the court already denied remand. So the

   issue is moot. Also, the court stated that it declined to allow remand discovery, regarding diversity issues,

   because diversity isn’t necessary here to establish jurisdiction since federal question jurisdiction is established.

   Defendants can’t benefit from the court’s position that diversity isn’t necessary and then use diversity as a basis

   to deny amendment. Contrary to the objection, amendment here wouldn’t defeat removal jurisdiction.

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23. The court previously knew or was aware that I intended to add parties by amendment including a non-diverse

   party. I literally stated this in my various objections to the motions to dismiss, both in MA federal court as well

   as in this court. Yet, the court made statements in the 11-30-23 hearing, that I should re-file the motion to

   amend and proposed complaint and provide reasons for adding parties. The court thus confirmed that it was

   aware or was expecting that I would be adding parties, namely the insurance companies and a non-diverse

   party. Yet, the court told me to provide the reasons for addition. The court has been well aware that these

   parties would be added via amendment to the complaint. Similarly, my attempts to add John Doe defendants

   aren’t futile. I’ve sufficiently alleged they are Massachusetts corporations (see para. 670 & 674 of proposed

   complaint). I’ll be harmed by them not being added to the case.

24. With respect to Beatriz Van Meek (“Van Meek”), I have justified why I’m seeking to add her as a defendant.

   Van Meek is a necessary party because she was relevant to the claims involving conspiracy with Donais to

   injure me. Moreover, the defendants’ reference to “nearly two years after filing his initial Complaint in this matter” is

   misleading and stated out of context. This is not true. I didn’t delay. I filed my motion to amend complaint

   shortly after I served process in state court, and promptly upon removal to federal court by defendants,

   including stating my intent to add parties. Moreover, I was hindered in adding the insurance companies because

   I didn’t know their identities and have been seeking to uncover their identities including seeking it from

   defendants who have evaded disclosure to this day. After it became clear that it ‘s futile to obtain the identities,

   I resorted to a failsafe approach of adding them as “John Doe” companies, to preserve my rights and preserve

   statute of limitations. Defendants blocked me from adding parties by blocking info. that should’ve been

   provided, but they’ve obstructed me and now they seek to blame me for their obstruction.

25. This court doesn’t lack jurisdiction over Van Meek. It’s possible she could waive personal jurisdiction, which

   is a waivable defense. Her actions could implicate the jurisdiction of this court. The court can’t deny

   amendment on grounds of personal jurisdiction when no such defense by the affected party has been advanced.

   See again Exhibit 1. Just because she is a Massachusetts resident, it doesn’t mean the court doesn’t have

   jurisdiction over her. Moreover, defendants told the court that it wouldn’t mount a personal jurisdiction




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      defense in this case and that it is waived. Defendants are prohibited from raising any personal jurisdiction

      defense. Thus, they can’t assert a personal jurisdiction defense for Van Meek since they don’t represent her.

26. Moreover, defendants can’t advance new defenses in an objection to a motion to amend complaint because

      the defendants already advanced two motions to dismiss already. It’s unfair because I can only object to these

      new defenses in a reply to the objection to amend (which has less pages to do so) rather than in an objection

      to a motion to dismiss. This creates a structural disadvantage for me and gives defendants the upper hand

      procedurally, by severely limiting the playing field on which I can engage such motion to dismiss defenses.

27. Moreover, I didn’t allege that she is a clerk in the Massachusetts Superior Court. The court can’t deny

      amendment based on defendants purporting new info. that I didn’t allege. Similarly, she isn’t immune from

      suit. No claim alleged implicates any tasks performed that “are inextricably intertwined with the judicial function”.

      Moreover, no allegations in the proposed complaint implicate absolute immunity. Either way, a clerk doesn’t

      automatically have absolute immunity, as her actions must be at the direction of a judge; otherwise, a clerk only

      can have qualified immunity as automatic presumption, but such presumption is subject to factual inquiry and

      not automatically dispositive, at the motion to dismiss stage. I’ll be harmed by denial of my motion to amend.

28. The civil conspiracy claim also doesn’t fail to state a claim. See para. 579-583. Also, Hilliard fraudulently

      misrepresented/induced me regarding settlement negotiations with other parties, to sabotage the settlement,

      and deceived me into fake negotiations, towards to a common tortious plan intended to injure me.

29. The charge that my proposed claims are futile because they fail to state a claim is conclusory and self-serving.

30. Defendants won’t be prejudiced by amendment as they’ll be free to file a new motion to dismiss.

31. Please liberally construe and grant my request or any other relief the court deems proper2.

                                                                                                                  Respectfully submitted,
                                                                                                                      /s/ Andre Bisasor
Date filed: May 13, 2024                                                                                                  Andre Bisasor
Date corrected3: May 14, 2024


2 2
    I hereby also request discovery and sanctions as shown in Exhibits 2 & 3, which are incorporated herein. [NB: See also Donais
defendants’ objections to discovery and sanctions, which further proves the need for discovery and shows they are blatantly dodging
addressing the fact that they have lied to the court]. I also intend to move to strike this objection, or portions thereof, which will be
forthcoming shortly after submission of this reply. I also incorporate my motion to amend complaint + my related filings. See Exhibit
4 for reply to Donais defendants’ objection to the motion to amend complaint, which is incorporated herein by reference.
3 In light of the clerks’ notice of filing error today, this correction is made for exhibits/exhibit description, and also for errors found after

further review, including typos, grammatical errors, missing words/sentences. It is made promptly the next day. Please accept this version.
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                            CERTIFICATE OF SERVICE
    I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                    /s/ Andre Bisasor
                                                                                        Andre Bisasor




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                                 EXHIBIT 1

 EMAILS WITH COUNSEL FOR DONAIS DEFENDANTS AND COUNSEL FOR
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       EMAILS WITH COUNSEL FOR HILLIARD DEFENDANTS
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                                  EXHIBIT 2

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             OBJECTIONS TO MOTION TO AMEND COMPLAINT
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                UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                   ANDRE BISASOR, Plaintiff,
                                               v.
               CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                    UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                    Case No.1:23-cv-00374-JL
 PLAINTIFF’S MOTION FOR LIMITED DISCOVERY PERTAINING TO DEFENDANTS’
              OBJECTIONS TO MOTION TO AMEND COMPLAINT
1. NOW COMES the plaintiff and respectfully submits this motion for limited discovery pertaining to

   defendants’ objections to plaintiff’s motion to amend complaint, as follows.

2. NB: I hereby incorporate the facts, arguments and authorities contained in the motion to amend the

   complaint, as if fully rewritten herein. I also refute the arguments, reasoning, claims, considerations,

   suggestions, insinuations, pleadings, statements, conclusions, requests and relief sought in the

   defendants’ oppositions.

          I. STANDARD FOR GRANTING LIMITED DISCOVERY AT THIS STAGE

3. The district court has the authority to allow limited discovery before a Plaintiff amends the Complaint,

   where “modest discovery may provide the missing link.” See Menard v. CSX Transp., Inc., 698 F.3d 40,

   45 (1st Cir. 2012).

4. Discovery is warranted where Plaintiff alleges “enough fact[s] to raise a reasonable expectation that

   discovery will reveal evidence” that supports Plaintiff’s claims. See Parker v. Landry, 935 F.3d 9, 18 (1st

   Cir. 2019), quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

5. Generally, discovery is appropriate where “a material part of the information needed is likely to be within

   the defendant’s control.” Garcia-Catalan v. United States, 734 F.3d 100 (1st Cir. 2013) (noting “it cannot

   reasonably be expected that the appellant, without the benefit of discovery, would have any information”

   about circumstances readily known to defendants), citing Grajales v. P.R. Ports Auth., 682 F.3d 40, 44

   (1st Cir. 2012) (highlighting “[s]moking gun proof” is “rarely available…at the pleading stage”).

6. As to discovery generally, pursuant to Federal Rule of Civil Procedure 26(b), parties are entitled to

   discovery “regarding any nonprivileged matter that is relevant to any party’s claim or defense and

   proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).


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7. Rule 26 is “construed broadly to encompass any matter that bears on, or that reasonably could lead to

   other matters that could bear on, any issue that is or may be in the case.” Energy Power (Shenzhen) Co.

   v. Wang, No. 13-cv-11348, 2014 WL 4687784, at *2 Case 1:21-cv-11181-PBS Document 170 Filed

   02/13/23 Page 4 of 26 5 (D. Mass. Sept. 17, 2014) (quoting Oppenheimer Fund, Inc. v. Sanders, 437

   U.S. 340, 351 (1978)).

8. “District courts exercise broad discretion to manage discovery matters,” Heidelberg Ams., Inc. v. Tokyo

   Kikai Seisakusho, Ltd., 333 F.3d 38, 41 (1st Cir. 2003), and “to tailor discovery narrowly,” Cutter v.

   HealthMarkets, Inc., No. 10-cv-11488, 2011 WL 613703, at *2 (D. Mass. Feb. 10, 2011) (quoting

   Crawford-El v. Britton, 523 U.S. 574, 598 (1998)).

9. When exercising this discretion, courts are to be mindful of the proportionality considerations articulated

   in Rule 26(b)(1). Fed. R. Civ. P. 26(b)(1).

10. The threshold showing that a plaintiff must present to the district court to merit limited discovery is

   relatively low. See Surpitski v. Hughes-Keenan Corp., 362 F.2d 254, 255-256 (1st Cir.1966) (per curiam)

   (explaining that a party should be allowed to conduct limited discovery when its position is not frivolous);

   see generally Swiss Am. Bank, 274 F.3d at 637 (“As a general matter, discovery ... should be freely

   permitted .... ” (quoting Edmond v. U.S. Postal Serv. Gen. Counsel, 949 F.2d 415, 425 (D.C.Cir.1991))).

11. The law authorizes discovery where there is doubt about the underlying facts. See Udeen v. Subaru of

   America, Inc., No. 18-17334(RBK/JS) (D.N.J. Mar. 12, 2019).




                                   II. SUMMARY OF ARGUMENT

12. This motion is made necessary by the scope and content of the defendants’ respective oppositions to

   the motion to amend complaint, making it necessary to obtain additional information from the

   defendants in order for a fair and reasonable response to be provided by me.




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13. In no way should this request for limited discovery be taken as an admission of any of the defendants’

    allegations or arguments nor should this motion be taken as a waiver of the arguments to be made in my

    reply to the oppositions filed by the defendants.

14. The Federal Rules of Civil Procedure, and court decisions applying and interpreting these Rules,

    recognize the right of the non-moving party to obtain the facts that they need to properly and fairly

    counter the moving party's claims through expedited and limited discovery, and to place in abeyance the

    court's consideration and resolution of the relevant issues, until such time as the expedited and limited

    discovery process is completed.

15. The allowance of this motion would accomplish leveling the playing field for the purpose, and provide

    the means recognized in the Federal Rules and by the courts to provide me with the facts and information

    I need to respond to the defendants’ filings, on a fair and effective basis.

16. At a minimum, defendants' practices add further weight to the need and importance of permitting the

    limited discovery, as one means that would help even the playing field and make it possible for me to

    respond to the oppositions, on a fairer basis.

17. The court also must view the facts and all reasonable inferences therefrom in the light most favorable

    to the plaintiff.

                                 III. SCOPE OF LIMITED DISCOVERY ISSUES

18. Plaintiff and the defendants do not agree on the factual allegations relevant to the following issues.

19. The defendants have used their objections to engage in the disputation of facts, which is not permitted

    at this stage, as follows.

A. Disputed Facts Regarding Applicability of Savings Statute and the Underlying Facts Relating
                      to 1-88 Dismissal in State Court of Related Case
20. First, the Donais defendants misstated the facts regarding the underlying reason for dismissal in the

    related Middlesex superior court case. I have proof of my facts regarding this. The Donais defendants

    know the truth but have tried to mislead or deceive this court. This disputation of facts will require




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    discovery and resolution of the factual dispute in order to ascertain the bases for the 1-88 dismissal

    (without prejudice) that occurred in the related MA Middlesex superior court case.

21. The defendants also insert new facts outside the proposed amended complaint including facts about

    proposed new defendant, Beatriz Van Meek, which again is not permitted at this stage.

22. In particular, the Donais defendants stated in the objection, on page 7, that:

             Plaintiff alleges that the Massachusetts savings statute, M.G.L. c. 260, §32, is triggered based upon the
             dismissal of his Middlesex Superior Court complaint. (Doc. 161-1, ¶301.) Plaintiff is incorrect. Attached
             hereto as Exhibit A is the docket summary for 2081CV00087. Therein, the Middlesex Superior matter was
             dismissed on August 2, 2021 as “service not completed for any party by deadline review.” The matter
             evidently was dismissed for lack of service of process, even after Plaintiff obtained several extensions of
             time to serve the complaint. (Ex. A.) Plaintiff’s failure to serve Donais – the only defendant in the matter
             - with process in the Middlesex Superior Court matter is the equivalent of a voluntary discontinuance for
             the plaintiff’s deliberate neglect to prosecute his lawsuit. In such circumstances, the savings statute does
             not save Plaintiff’s time-barred claims. Plaintiff’s failure to effectuate service of process is not by reason
             of an unavoidable accident or because of default or neglect by the officer to whom such process is
             committed.

23. However, contrary to the above assertions by the Donais defendants, I did serve Donais with service of

    process. Donais also lied to courts1 previously stating that he wasn’t served process.

24. Such statement by Donais is false and can be proven false by the fact that a US post office postmaster

    has confirmed that Donais did receive service of process from me, with a certified US post office mailing

    sent to Donais on July 16, 2021. Because Donais was located at the time in New Hampshire, I was

    authorized under the long arm statute to serve process on him by mailing to him certified mail, which I

    did, with proof of receipt provided. A US postal service postmaster has provided written proof and mail

    delivery receipt, confirming that Donais received the mailing of the certified mail containing the service

    documents. But Donais lied to courts, more than once, averring that he was not served, and thus did




1 For example, Donais made the following statement to a Middlesex superior court judge on 11/30/21, where I was not present

on an ex parte basis:

   MR. DONAIS: I'm Craig Donais, although I haven't been served and so I don't have an appearance in on this case.
   ....
   THE COURT: Okay. So, Mr. Donais, or Attorney Donais, but in this case --- you're a named defendant in a case that's not
   been served upon you yet.
   MR. DONAIS: Correct.
   ...
   MR. DONAIS: …I've never been served…

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   not receive any mailing of the summons and complaint from me in that case. This is a bald and egregious

   lie.

25. One example of proof that Donais received the certified mailing from me includes the following email

   from the US postmaster showing the name and address of the recipient of the certified mail package

   being Craig Donais.




26. The below further shows proof from the US postmaster (David Labrie) of a signed receipt of the

   certified mail with tracking number of package I mailed to Donais at his address in NH.




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27. This thus proves that Donais has lied. I thus have statements and documents by the US post office

   confirming that Donais was served process. The dismissal was thus not a failure to prosecute the case.

   The state court dismissed the case on a technicality, in that the proof for service was not received by the

   court within a certain time and the state court prematurely entered a 1-88 dismissal.

28. NB: This is what the current appeal in the MA appeals court is all about and the appeals court will likely

   reverse the 1-88 dismissal and remand the case to the Middlesex superior court. By the wat, this is

   another reason why this court should stay this case and allow the appeals court to resolve this issue,

   especially since the defendants have now made this a key issue to be resolved for this case. The

   defendants keep making big noise about the fact that there is a pending case in MA appeals court and

   keep using this to somehow persuade the court of whatever they next try to argue. But this cuts both

   ways as their emphasis on the importance of this prior state court case in MA, supports giving that prior

   first filed case in MA, the preference and priority, and thus this case should be stayed.

29. Also, I did serve process on Donais before the deadline to serve process was expired.

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30. This is thus a significant dispute of fact with respect to the assertions made by the Donais defendants in

    their objection. Donais asserts in his objection that I failed to serve him process. This is a lie. His only

    way to try to now explain this lie is to assert that the postal employee did not comply with certain

    requirements for service, even though the postal employee gave Donais the service of process

    documents and thus did serve him process. If this is Donais’ defense to this blatant lie, using such a

    hyper-technical argument, then it further establishes that according to Donais, it was a mistake by the

    post employee, which would prove that the savings statute must apply. The only way to know if this is

    what Donais will use to explain his lie is to get Donais under oath to answer discovery. Even so, it would

    still be a lie because he falsely gave this court the wrong impression that he did not receive the service

    of process documents at all and that I “failed” serve him the documents2.

31. Donais has made this squarely a major issue by averring that I failed to serve him, that he was not served

    and that this was a matter of my failure to prosecute, which is a bald lie.

32. This requires discovery as follows: Did Donais receive the service of process documents from me via

    the US post office/postal employee by certified mail? If so, what date stamp was on the certified mailed

    documents? When did Donais receive the certified mailed documents? Does Donais currently have the

    certified mailed documents and envelope, and did Donais preserve the certified mailed documents and

    envelope, and can he produce the certified mailed documents and envelope now? Why exactly is Donis

    saying he was not served the mailed documents? Does he assert that the postal employee did something

    wrong when the postal employee gave Donais the certified mailed documents? Does Donais deny that

    the postal employee gave him the certified mail documents? Why would the post office and postal

    employee say that they gave Donais or delivered to Donais the certified mailed documents that are at

    issue? Donais needs to come clean and answer these questions via limited discovery.




2 NB: I predict that if the Donais defendants provide a response to this motion, they will dodge and deflect from addressing this

issue head on, but will obfuscate and evade the issue of Donais’ intent to assert that the US postmaster made a technical error in
serving the certified mail to Donais, or something to that effect, as the grounds for why service was not made on Donais.

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33. These are critical questions that must be answered in order to resolve whether Donais was served the

    documents in question (pursuant to the long arm statute), whether the plaintiff failed to serve Donais,

    and thus whether the savings statute applies to refute the defendants statute of limitations defenses as

    asserted in their objection to the motion to amend complaint. NB: It is also predictable that the

    defendants will not even answer these questions in their response to this motion.

34. Therefore, in order to decide this issue, limited discovery is required and possibly even an evidentiary

    hearing is required (and I hereby request such a hearing). The integrity of these proceedings are at stake

35. I request, in the interests of judicial equity, that the court permits an opportunity to take limited discovery

    to properly defend against the defendants’ oppositions to my motion to amend complaint.

36. I therefore request that discovery be allowed, without which I believe I would be deprived of proper

    due process, and of my right to a fair opportunity for a fair trial/proceeding.

37. I am only seeking very limited discovery. The court can narrowly tailor discovery to the proper limits. I

    simply ask for the minimum necessary discovery to defend my case against the defendants’ oppositions

    and against any assertion and use of disputed facts outside of the complaint.

38. I am thus seeking limited discovery to establish necessary facts. Limited discovery is appropriate in this

    case, in order to gather necessary information to ensure a fair and just resolution of this issue. Limited

    discovery is reasonable because there are fact issues that need to be addressed, revealed, discovered,

    and/or established regarding the motion to amend complaint. Fact inquiry cannot be fairly or properly

    done without any limited discovery.

39. Limited discovery is also reasonable because defendants are contradicting facts in my motion to amend

    complaint and proposed amended complaint, or are seeking to dispute facts asserted or implied in my

    motion to amend or proposed amended complaint.

40. Limited discovery is proper. Limited discovery is relevant. Discovery is an essential tool in the pursuit

    of justice, particularly where access to information is paramount and a crucial issue.




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41. Limited discovery is necessary to obtain the relevant documents, records, or information held by the

    defendants, which are crucial for the plaintiff to effectively present his case and defend his rights. The

    requested limited discovery is directly related to the central issues of the motion to amend the complaint.

    It is necessary to uncover potential evidence that may support the motion to amend complaint.

42. If the court is to be in a position to resolve the factual dispute germane to the issue of the statute of

    limitations governing this entire case, then the court must resolve the applicability of the Massachusetts

    savings statute, but that is a fact inquiry, and so the court must resolve the fact dispute in order to resolve

    the motion to amend complaint and the attendant objections thereto.

                        B. Disputed Facts Regarding New Defendant Beatriz Van Meek

43. It should be further noted that Donais has also placed at issue the fact of whether he and Ms. Van meek

    conspired against me unlawfully, as follows.

44. First, I did not state that Ms. Van Meek’s role in the conspiracy was in her job or her job only. I clearly

    stated, in one place or another in the proposed amended complaint, that the conspiracy also took place

    outside of her job. As defendants point out, there was no identification of Ms. Van Meek’s job in the

    proposed amended complaint. The defendants seek to insert their speculation that her job was as

    Business Litigation Session (BLS) superior court assistant clerk in Massachusetts. But that wasn’t the job

    I was referring to. Moreover, Ms. Van Meek has had other jobs other than that.

45. Either way, even if that was the job I was referring to (which it was not), then even so, given that my

    proposed amended complaint asserts acts outside of her job, the defendants cannot use their speculation

    to attempt to defeat amendment as futile, because of purported absolute immunity3, at this stage. If that

    is a defense that could be asserted (which I do not concede that it is), it is for Ms. Van Meek to assert

    any defense herself via an answer or a motion to dismiss. Counsel for defendants do not represent Ms.




3 It should be noted that absolute immunity does not apply to clerks of the Massachusetts superior court, except only when a

clerk acts on or carries out the orders of a judge. On all other occasions, clerks may only invoke a qualified immunity, which can
be overcome by facts showing the clerk acted outside of a judge’s orders, acted in malice, or acted outside the scope of her duties,
among other things. The defendants know this but have misstated the law.

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   Van Meek and it is improper for them to speculate as to what her defenses might be, and furthermore

   counsel for the Defendants cannot assert defenses on her behalf.

46. Furthermore, the defendants seek to mislead this court with a reference to page 9 of their Exhibit A of

   their opposition to my motion to amend complaint, but that was a false reference as that pertained to

   whether there was communication between the judge of the MA Middlesex superior court case and

   Donais, or between the judge of that case and the clerk staff of that case about things that may have

   been stated to the clerk staff by Donais. It was not about communication between Donais and the clerk

   staff that was outside of the job or that did not reach to the judge’s ears. The judge undertook no

   investigation of these facts, but only stated that nothing improper came to his ears. That reference is

   thus inapposite and has nothing to do with the claims about Ms. Van Meek in the proposed amended

   complaint. Moreover, the MA appeals court, with respect to an appeal on this underlying state court

   case, subsequently allowed the plaintiff permission to further seek disclosure of the communications

   between Donais and clerk staff, which indicated that the issue was not closed in the state court contrary

   to the mistaken assumptions of the defendants (see MA appeals court docket of that case, for

   confirmation). Similarly, the transcript of the hearing on 11-30-21 in the Middlesex Superior Court case,

   where the references by the judge are being misconstrued by the defendants, clearly show that the judge

   in that case was not passing upon the issue of the communications between Donais and any clerk staff,

   whether in or out of the job. The defendants were not part of that hearing, as that hearing was

   impounded by the judge, and the defendants have taken the entry on the docket out of context and

   applied it to what it actually did not refer to. This can be further addressed in discovery.

47. To the extent the defendants assert that Donais did not make plans with, nefariously interact with, or

   conspire with Ms. Van Meek against me, whether in or outside of her job, as a basis for their objection,

   then that is a factual dispute, and gives rise to further grounds for limited discovery as follows: What

   interactions and communications with Ms. Van Meek did Donais have, and were there in or outside of

   her job? And what was the nature of such interactions and communications? Given that Donais is


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    evidently disputing that he made any plans or communications with Ms. Van Meek, outside of her job,

    then this must be resolved through discovery. NB: Donais is not permitted to dispute facts at this stage,

    neither in a motion to dismiss, and especially not in an objection to a motion to amend complaint.

                 IV. PROPOSED PLAN FOR LIMITED DISCOVERY REQUESTED

48. The requested limited discovery is narrowly tailored to the specific information necessary for the motion

    to amend complaint.

49. It would not be overly burdensome or disproportionate to the nature of this dispute.

50. Allowing limited discovery will not unduly delay the proceedings or prejudice the defendants, as follows.

        a. I would be minimally satisfied with being allowed to propound 10 questions via interrogatories

            and 10 documents for document production upon the defendants, and to take a one hour

            deposition of the Donais defendants.

        b. The court can order discovery limited to 10 questions via interrogatories and 10 documents for

            document production, to be completed within a reasonable time from the date of ruling on this

            motion. Similarly, a 1 hour deposition with the defendants can be completed within a reasonable

            time from the date of ruling on this motion, as well.

        c. This would not unduly delay these proceedings nor create an unreasonable burden on the

            defendants at this juncture.

51. The above are some of the categories of the limited discovery information that I need the defendants to

    provide.

52. I would be minimally satisfied with the above in terms of limited discovery at this juncture. I just need

    a minimal opportunity to conduct very limited discovery.

53. These are critical issues to resolve before the court can look at the larger questions of this case.

54. Consequently, the issues in this case cannot be determined without factual inquiry. Thus, some discovery

    is required to determine or reveal those facts. NB: The matter should not be concluded on conflicting

    affidavits. See Rivera-Lopez v. Municipality of Dorado, 979F.2d 885(1992)(1st Cir.).


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55. If I am not allowed to obtain any discovery at all, I will be severely disadvantaged.

56. As shown above, the requested discovery is targeted towards getting basic information relevant to the

    motion to amend.

                                                V. CONCLUSION

57. Allowance of limited discovery is in the interest of justice, as it will ensure a fair and thorough

    examination of the relevant facts, and contribute to the just resolution of amendment issues.

58. The court must assume my facts are true. But yet the defendants are trying to contradict certain facts in

    my motion to amend and/or the proposed amended complaint. The defendants cannot dispute or

    contradicts any of the facts that are contained in the above. The court cannot use the defendants’ facts

    (or version of facts) as true or as facts, without some limited discovery. The court cannot take defendants’

    facts asserted, cited, implied, or alluded to, as true, over against or to contradict my stated facts or alluded

    to facts.

59. Here, for example, the defendants assert new facts in their oppositions, without any affidavit. It seems

    that the defendants would like the plaintiff and the court to just take their word for it, without any

    evidence or proof of factual assertions. This is not right. Moreover, it violates federal court rules that

    requires fact statements to be supported by affidavit (“The court will not hear any motion grounded

    upon facts, unless such facts are verified by affidavit…”).

60. Fair is fair. The defendants cannot have it both ways.

61. The defendants should not be allowed to effectively “rig the game” by asserting new facts or disputing

    my asserted or implied facts while inoculating themselves from having to test or verify or prove their

    assertion of new facts or their disputation of my facts.

62. Similarly, the facts supplied by the defendants are not to be considered by the court at this stage without

    limited discovery. This supports the need for limited discovery in this case.

63. I need discovery pertaining to this motion to amend complaint. This must be addressed before any

    motion to amend can be resolved.


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64. I request a hearing on this motion.

65. Please grant my request or grant any other relief the Court deems proper.

                                                                                    Respectfully submitted,
                                                                                        /s/ Andre Bisasor
                                                                                            Andre Bisasor
May 9, 2024
                                      CERTIFICATE OF SERVICE
              I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                           /s/ Andre Bisasor
                                                                                                Andre Bisasor




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                             EXHIBIT 3


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MOTION FOR SANCTIONS AGAINST THE DONAIS DEFENDANTS
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                        UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                           ANDRE BISASOR, Plaintiff,
                                                       v.
                       CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                            UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                            Case No.1:23-cv-00374-JL

                    MOTION FOR SANCTIONS AGAINST THE DONAIS DEFENDANTS
1. I the plaintiff hereby move for sanctions against the Donais defendants, and also request that the court

    issue a findings of fact that defendant Donais’ assertion, that Donais was not served process in the

    Middlesex Superior Court case, is false. I thus also move for sanctions including and up to sanction of

    dismissal. Grounds are as follows.

               A. DONAIS’ INTENTIONAL FALSE STATEMENTS TO THIS COURT
2. The Donais defendants, in their opposition to the motion to amend complaint, misstated the facts regarding

    the underlying reason for dismissal in the related Middlesex superior court case. The Donais defendants

    know the truth but have tried to mislead or deceive this court.

3. In particular, the Donais defendants stated in the objection, on page 7 of their opposition to the motion to

    amend complaint, that:

         Plaintiff alleges that the Massachusetts savings statute, M.G.L. c. 260, §32, is triggered based upon the dismissal
         of his Middlesex Superior Court complaint. (Doc. 161-1, ¶301.) Plaintiff is incorrect. Attached hereto as Exhibit
         A is the docket summary for 2081CV00087. Therein, the Middlesex Superior matter was dismissed on August 2,
         2021 as “service not completed for any party by deadline review.” The matter evidently was dismissed for lack
         of service of process, even after Plaintiff obtained several extensions of time to serve the complaint. (Ex. A.)
         Plaintiff’s failure to serve Donais – the only defendant in the matter - with process in the Middlesex Superior
         Court matter is the equivalent of a voluntary discontinuance for the plaintiff’s deliberate neglect to prosecute his
         lawsuit. In such circumstances, the savings statute does not save Plaintiff’s time-barred claims. Plaintiff’s failure
         to effectuate service of process is not by reason of an unavoidable accident or because of default or neglect by
         the officer to whom such process is committed.
4. However, contrary to the above assertions by the Donais defendants, I did serve Donais with service of

    process. Donais also lied to courts1 previously stating that he wasn’t served process.


1
 For example, Donais made the following statement to a Middlesex superior court judge on 11/30/21, where I was not present on an ex parte
basis:
  MR. DONAIS: I'm Craig Donais, although I haven't been served and so I don't have an appearance in on this case.
  ....
  THE COURT: Okay. So, Mr. Donais, or Attorney Donais, but in this case --- you're a named defendant in a case that's not been served
  upon you yet.
  MR. DONAIS: Correct.
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MR. DONAIS: …I've never been served…
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5. Such statement by Donais is false and can be proven false by the fact that a US post office postmaster has

   confirmed that Donais did receive service of process from me, with a certified US post office mailing sent

   to Donais on July 16, 2021. Because Donais was located at the time in New Hampshire, I was authorized

   under the long arm statute to serve process on him by mailing to him certified mail, which I did, with proof

   of receipt provided. A US postal service postmaster has provided written proof and mail delivery receipt,

   confirming that Donais received the mailing of the certified mail containing the service documents. But

   Donais lied to courts, more than once, averring that he was not served, and thus did not receive any mailing

   of the summons and complaint from me in that case. This is a bald and egregious lie.

6. One example of proof that Donais received the certified mailing from me includes the following email from

   the US postmaster showing the name and address of the recipient of the certified mail package being Craig

   Donais.




7. The below further shows proof from the US postmaster (David Labrie) of a signed receipt of the certified

   mail with tracking number of package I mailed to Donais at his address in NH.



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8. This thus proves that Donais has lied. I thus have statements and documents by the US post office

   confirming that Donais was served process. The dismissal was thus not a failure to prosecute the case. The

   state court dismissed the case on a technicality, in that the proof for service was not received by the court

   within a certain time and the state court prematurely entered a 1-88 dismissal.

9. NB: This is what the current appeal in the MA appeals court is all about and the appeals court will likely

   reverse the 1-88 dismissal and remand the case to the Middlesex superior court. By the wat, this is another

   reason why this court should stay this case and allow the appeals court to resolve this issue, especially since

   the defendants have now made this a key issue to be resolved for this case. The defendants keep making

   big noise about the fact that there is a pending case in MA appeals court and keep using this to somehow

   persuade the court of whatever they next try to argue. But this cuts both ways as their emphasis on the

   importance of this prior state court case in MA, supports giving that prior first filed case in MA, the

   preference and priority, and thus this case should be stayed.

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10. Also, I did serve process on Donais before the deadline to serve process was expired.

11. This is thus a significant dispute of fact with respect to the assertions made by the Donais defendants in

   their objection. Donais asserts in his objection that I failed to serve him process. This is a lie. His only way

   to try to now explain this lie is to assert that the postal employee did not comply with certain requirements

   for service, even though the postal employee gave Donais the service of process documents and thus did

   serve him process. If this is Donais’ defense to this blatant lie, using such a hyper-technical argument, then

   it further establishes that according to Donais, it was a mistake by the post employee, which would prove

   that the savings statute must apply. The only way to know if this is what Donais will use to explain his lie is

   to get Donais under oath to answer discovery. Even so, it would still be a lie because he falsely gave this

   court the wrong impression that he did not receive the service of process documents at all and that I “failed”

   serve him the documents .

12. Donais has made this squarely a major issue by averring that I failed to serve him, that he was not served

   and that this was a matter of my failure to prosecute, which is a bald lie.

13. Donais received the service of process documents from me via the US post office/postal employee by

   certified mail. If so, what date stamp was on the certified mailed documents? When did Donais receive the

   certified mailed documents? Does Donais currently have the certified mailed documents and envelope, and

   did Donais preserve the certified mailed documents and envelope, and can he produce the certified mailed

   documents and envelope now? Why exactly is Donis saying he was not served the mailed documents?

   Does he assert that the postal employee did something wrong when the postal employee gave Donais the

   certified mailed documents? Does Donais deny that the postal employee gave him the certified mail

   documents? Why would the post office and postal employee say that they gave Donais or delivered to

   Donais the certified mailed documents that are at issue? Donais needs to come clean and answer these

   questions.

14. These are critical questions that must be answered in order to resolve whether Donais was served the

   documents in question (pursuant to the long arm statute), whether the plaintiff failed to serve Donais, and

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    thus whether the savings statute applies to refute the defendants statute of limitations defenses as asserted

    in their objection to the motion to amend complaint. NB: It is also predictable that the defendants will not

    even answer these questions in their response to this motion.

15. Therefore, I hereby request an evidentiary hearing. The integrity of these proceedings are at stake.

16. I hereby request that the court issue a finding of fact that defendant Donais’ assertion or allegation that the

    Donais defendants was not served summons and complaint service of process documents by a United

    States Postal worker by certified mail in July 2021, is false. Donais’ reference, in his objection, to the failure

    of the plaintiff to serve such documents at all in state court is not true.

                                        B. THE NEED FOR THIS MOTION

17. This motion is necessary because Donais has made an intentional material false statement to this court. It

    is also necessary in order to clarify and protect the record. It is also necessary to preserve the integrity of

    these proceedings. It is also necessary to hold lawyers accountable for upholding the high standards of

    truth and candor required by the court.

18. This false statement is a statement of fact. The statement is also relevant and material because Donais uses it as his

    central point for seeking relief. It is not a side point or peripheral statement. It is central and crucial. It is also

    intentional. The statement was made with a clear intent and objective. This was not done inadvertently or by

    accident. It was done with full consciousness by Donais. The statement is verifiably and provably not true. A

    statement can be proven not true if it can be falsified by other facts. The plaintiffs have provided proof.

19. Therefore, Donais’ statement is not true. It is not accurate. It is not factual. It is false.

20. There is simply no way around this fact.

21. Therefore, the plaintiffs ask that the court issue a finding of fact that comports with the above clear and

    indisputable set of facts.

22. NB: This is compounded by the fact that, after the plaintiff has showed that the statement was false, instead of

    correcting this false statement, Donais doubled down, reiterated and repeated this false statement in multiple filings



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    thereafter. This is further evidence of intent. It is also evidence of malice. And rather than coming clean in response

    to this motion, he will further double down.

                                                      C. SANCTIONS

23. Donais should be held to account for this blatant false statement including up to default judgment.

24. Because of the nature of the claims in this case relating to false statements in the underlying facts of the case, it

    adds insult to injury for Donais to engage in false statements to the court to try to influence the outcome and the

    fair administration of justice.

25. Rule 11 provides that the “signature of an attorney” to any pleading “constitutes a certificate” that there is “good

    ground to support [the pleading]; and that it is not interposed for delay.”

26. Default judgment is warranted, or such other sanctions as this Court deems just and proper.

                                                     D. CONCLUSION

27. The plaintiff hereby request a hearing on this motion.

28. Please grant a pro se liberal construction to this pleading.

29. Please grant the relief requested or any other relief the court deems fair, right, just, equitable or proper.

                                                                                                    Respectfully submitted,
                                                                                                        /s/ Andre Bisasor
                                                                                                            Andre Bisasor
May 9, 2024
                                             CERTIFICATE OF SERVICE
                     I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                                         /s/ Andre Bisasor
                                                                                                             Andre Bisasor




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                             EXHIBIT 4

MOTION FOR SANCTIONS AGAINST THE HILLIARD DEFENDANTS
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                    UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                       ANDRE BISASOR, Plaintiff,
                                                   v.
                   CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                        UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                        Case No.1:23-cv-00374-JL

                MOTION FOR SANCTIONS AGAINST THE HILLIARD DEFENDANTS
1. I the plaintiff hereby move for sanctions against the Hilliard defendants, and also request that the court issue

    a findings of fact that defendant Hilliard’s assertion or allegation that Hilliard was only served summons and

    complaint service of process documents by a United States Postal certified mail on May 11, 2023. Hilliard’s

    reference in his filings in this case that he did not receive service documents on April 17, 2023 is false. I thus

    also move for sanctions including and up to sanction of dismissal. Grounds are as follows.

                                    I. THE NEED FOR THIS MOTION

2. This request is necessary because Hilliard has repeated this false statement in more than one filing in this court

    or other courts involving this case.

3. This request is also necessary in order to clarify and protect the record.

4. This request is also necessary to preserve the integrity of these proceedings.

5. This request is also necessary to hold lawyers accountable for upholding the high standards of truth and candor

    required by the court.

                                           II. BASIS FOR THIS MOTION
    A. Hilliard’s Receipt of Service of Process /True Date of Service and Receipt of Original Complaint
                                          and Summons by Hilliard
6. In his affidavit filed in Massachusetts federal court involving this transferred case, Hilliard states that he only

    received the summons and the amended complaint on May 11, 2023 via first class mail. This is false as shown

    herein.

7. The true and correct date of the service of the original complaint on the above-noted defendants is 4/14/23.

    The true and correct date of the receipt of the original complaint on the above-noted defendants is 4/17/23.

    This is further shown and proven below.

8. First, Hilliard notes in his affidavit that he received the summons and the amended complaint on 5/11/23 by

    regular mail only. See screenshot below.

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9. It should be noted that, Upton and Hatfield has argued that it obtained service because Russell Hilliard was

   served and Russell Hilliard is a partner of the firm. See page 2 of Defendants Russell F. Hilliard and Upton &

   Hatfield, LLP Opposition to Plaintiff’s Notice of Intent to Move to Remand This Case to State Court

   (Document #36 in this court). See also screenshot below of Document #36 in this court.




10. Here, Upton & Hatfield states that “Upton & Hatfield has never been served with the Amended

   Complaint” and that it used “the May 11, 2023 date that Mr. Hilliard, a partner in the firm, received the

   Amended Complaint as the date that Upton & Hatfield received notice of the Amended Complaint.”

11. Therefore, by their own admission and standard, Upton & Hatfield has averred a principle by which it can

   arrive at the date it received notice i.e., through Russell Hilliard as a partner in the firm, which is a limited

   liability partnership.

12. But based on this, Upton & Hatfield first received notice of the original complaint, when on April 17, 2023,

   Russell Hilliard received the original complaint, who was first served the original complaint on April 17, 2023.

13. See screenshot of sheriff’s return of service with certified mail tracking number showing mailing to Russell

   Hilliard to the home address. See again Exhibit 2.

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14. See also screenshot of USPS tracking for sheriff’s certified mailing. See Exhibit 7.




15. Here, this is proof that the original complaint was received by Russell Hilliard on April 17, 2023. By comparing

   the tracking number of 9171999991703051265076 on the sheriff’s return of service with certified mailing

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    addressed to Russell Hilliard’s home address in Portsmouth NH, to the USPS tracking receipt with the same

    tracking number, it shows the mail was delivered/received on April 17, 2023 at 3.45pm at Hilliard’s home in

    Portsmouth NH.

16. This also shows that Russell Hilliard has lied to this court, and in fact did so under oath, meaning that this is

    perjury. This is a critical matter. Here, you have a Sheriff who has provided testimony, via affidavit, that she

    placed the summons and original complaint into the mail via certified mail (with tracking) and first class mail

    to Russell Hilliard at his address in Portsmouth NH. Here, you also have the US post office providing a tracking

    receipt showing that the certified mail with tracking that was mailed by the Sheriff was received by Russell

    Hilliard on April 17, 2023. The affidavit of Russell Hilliard cannot defeat the affidavit of Sheriff and the receipt

    provided by the US post office, both of whom are disinterested parties not involved in this litigation and are

    duly recognized government authorities on matters related to service and mailing of service of process

    documents. The affidavit of the Sheriff and the tracking receipt of the US post office provides impeachment

    of Russell Hilliard’s affidavit and of the statements made by his counsel in their pleadings to this court.

17. Either way, the evidence provided above is sufficient on its face to establish that Russell Hilliard received the

    summons and original complaint on April 17, 2023.

18. It should also be noted that the sheriff also averred in her return of service affidavit to the court that the

    sheriff’s office also mailed the summons and original complaint to Russell Hilliard to his home address in

    Portsmouth NH via first class mail. See screenshot below and see again Exhibit 2.




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19. The address listed on the above screenshot, 579 Sagamore Avenue, Unit 9, Portsmouth NH is Russell’s home

   address. See proof by his mortgage deed filed with the registry of deeds. See screenshot below. See Exhibit 8.




20. Therefore, Russell Hilliard was served the original complaint and summons on April 14, 2023 and thus he also

   received notice of the original complaint by April 17, 2023 (if the 3 day rule for mailing is applied).



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21. NB: I also spoke to the Sheriff and she averred that no first class mail that she mailed on April 14, 2023 (or

    May 8, 2023) has been returned to her, from either Donais or Hilliard. Therefore, every first class mail that

    was placed in the US postal mail service on April 14, 2023 and on May 8, 2023 was delivered and received by

    the addressees, including Russell Hilliard. Either way, mailing by US postal mail by a sheriff is valid on its face

    as to the date of service and date of mailing.

22. This further shows that Russell Hilliard has lied to this court under oath.

23. This leads to another key point. The sheriff also averred in her return of service affidavit to the court that the

    sheriff’s office also mailed the summons and original complaint to Russell Hilliard to his work address at Upton

    & Hatfield in Portsmouth NH, via first class mail. See screenshot below and see again Exhibit 3.




24. Also, the 159 Middle Street address is the Upton & Hatfield’s only physical office in NH. The other two

    addresses in Concord NH and Petersborough NH are P.O. Box addresses. This also means that the first class

    mail sent to Russell Hilliard at this work address was received by Russell Hilliard. See screenshot below of

    Upton & Hatfield’s website showing their address, and see Exhibit 9.




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25. Thus, there is simply no way around this fact. Russell Hilliard was served the original complaint and summons

   by the sheriff on April 14, 2023 and Russell Hilliard received notice of the original complaint and summons

   on April 17, 2023. This is confirmed by sheriff’s affidavit and proof of mailing of certified mail and confirmed

   by tracking as well as by proof of mailing by first class mail to Russell Hilliard at his home address and to his

   work address at Upton & Hatfield.

26. So the service date of the original complaint has been established as April 14, 2023 and the receive date of the

   original complaint has been established as April 17, 2023, and thus that the original complaint was served on

   April 14, 2023 and received on April 17, 2023 by Russell Hilliard.

27. Hilliard has thus stated and repeated the above lie. The integrity of these proceedings is thus at stake. This

   allegation therefore has been alleged and repeated in more than one filings by the defendant. This cannot be

   allowed to stand as is.

28. NB: In determining the validity of service in state court prior to removal, the law of the state under which

   service was effected must be applied. See In re Pharm. Indus. Average Wholesale Price Litig., 431 F. Supp. 2d

   98, 108 (D. Mass. 2006); Frankston v. Denniston, 376 F. Supp. 2d 35, 39 (D. Mass. 2005).

29. Massachusetts Rule of Civil Procedure 4(e) authorizes service by “any form of mail addressed to the person to

   be served and requiring a signed receipt.”




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30. Proof of service requires a receipt signed by the addressee or such other evidence of personal delivery. Failure

    to make proof of service, however, “does not affect the validity of the service.” M.R.C.P. 4(f).

31. The Massachusetts federal court has determined that service is valid even if a defendant contends that a

    plaintiff’s service was invalid because the plaintiff did not file a USPS return receipt for the complaint package

    sent, and/or the USPS package sent was returned as undeliverable, and deemed service was effective under

    such circumstances especially where the plaintiff employed both USPS certified mail and other mailing to the

    defendants’ address. See Sindi v. El-Moslimany, CIVIL ACTION NO. 13-10798-GAO, 2 (D. Mass. Mar. 26,

    2014. See In re Pharm. Indus. Average Wholesale Price Litig., 431 F. Supp. 2d 98, 108 (D. Mass.

    2006); Frankston v. Denniston, 376 F. Supp. 2d 35, 39 (D. Mass. 2005).

                                            III. INDISPUTABLE FACTS

32. First, this statement is a statement of fact. It is either true or not true. It is not an opinion or a guess. It alleges

    that a certain statement was made by the plaintiffs at a specific time and in a specific place and to a specific

    person. Hence, it is a fact that the statement is a statement of fact.

33. Second, the statement is also relevant and material because Hilliard uses it as his central point for seeking relief.

    It is not a side point or peripheral statement. It is central and crucial.

34. Third, it is also intentional. The statement was made with a clear intent and objective, to assign a concrete

    specific act or lack thereof to me. This was not done inadvertently or by accident. It was done with full

    consciousness by Hilliard.

35. Fourth, the statement is verifiably and provably not true. A statement can be proven not true if it can be

    falsified by other facts. I have provided proof.

36. Therefore, Hilliard’ statement is not true. It is not accurate. It is not factual. It is false.

37. There is simply no way around this fact.

38. Therefore, I ask that the court issue a finding of fact that comports with the above clear and indisputable set

    of facts.




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                     IV. FURTHER ARGUMENT AND SANCTIONS REQUESTED

39. Rule 11 provides that the “signature of an attorney” to any pleading “constitutes a certificate” that there is

    “good ground to support [the pleading]; and that it is not interposed for delay.”

40. Default judgment is warranted, or such other sanctions as this Court deems just and proper.

41. Hilliard should be held to account for this blatant false statement including up to default judgment.

42. Because of the nature of the claims in this case relating to false statements in the underlying facts of the case,

    it adds insult to injury for Hilliard to engage in false statements to the court to try to influence the outcome

    and the fair administration of justice.

                                                V. CONCLUSION

43. I hereby request a hearing on this motion. Please grant a pro se liberal construction to this pleading. Please

    grant the relief requested or any other relief the court deems fair, right, just, equitable or proper.

                                                                                               Respectfully submitted,
                                                                                                   /s/ Andre Bisasor
                                                                                                       Andre Bisasor
May 9, 2024
                                          CERTIFICATE OF SERVICE
                  I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                                  /s/ Andre Bisasor
                                                                                                      Andre Bisasor




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                             EXHIBIT 5

[CORRECTED] PLAINTIFF’S REPLY TO THE DONAIS DEFENDANTS’
    OBJECTION TO MOTION TO AMEND THE COMPLAINT

[NB: This is with written text of the reply only and is without exhibits, in
   order to save total # of pages of this exhibit. See also complete reply
            with exhibits, which is fully incorporated herein]
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                     UNITED STATES DISTRICT COURT - DISTRICT OF NEW HAMPSHIRE
                                        ANDRE BISASOR, Plaintiff,
                                                     v.
                    CRAIG S. DONAIS; RUSSELL F. HILLIARD; DONAIS LAW OFFICES, PLLC;
                         UPTON & HATFIELD, LLP; and MARY K. DONAIS, Defendants.
                                          Case No.1:23-cv-00374-JL
  [CORRECTED] PLAINTIFF’S REPLY TO THE DONAIS DEFENDANTS’ OBJECTION TO
      PLAINTIFF’S RE-SUBMITTED MOTION TO AMEND THE STATE COMPLAINT
1. This is a reply to Donais defendants’ objection to my motion to amend complaint (“proposed complaint”).

2. My amendment doesn’t “violate Rule 8” and is not “futile”. I’ve not had any chance or opportunity to amend

   the complaint after service of process in state court. Defendants removed to federal court and then further

   sought/obtained transfer to another federal court, and yet they evidently still expect me to stand on the

   complaint filed originally in state court. After moving through two federal courts, that would simply not be

   fair, just, or equitable. I have the right to amend the complaint at least once in federal court before judgment

   or ruling on a motion to dismiss. I’ll be significantly prejudiced without allowance of amendment to the

   complaint. Moreover, there are additional acts since filing in state court and all amendments arise out of a

   common nucleus of facts. Below, I provide specific responses to Donais defendants’ objection (“objection”).

3. Contrary to the objection, my proposed complaint does address so-called/purported fatal issues. This is an

   error of defendants’ own failure to read the proposed complaint carefully or an intentional attempt to mislead

   the court. It’s evident Donais defendants didn’t consider all changes in the proposed complaint.

4. Contrary to the objection, my allegations are not speculative nor unsupported. I’ve provided firsthand

   knowledge of acts by Donais defendants. Also, this isn’t the stage to provide evidence to support claims.

5. Contrary to the objection, it is NOT beyond a doubt that I can prove no set of facts in support of my claim.

   This argument is circular, and tautological. The standard for allowing amendment of a complaint is a lenient

   one. It would be meaningless for the rules & the law to provide that amendment be allowed freely if the court

   then holds amendment to a strict rigid inflexible rule 12b criteria. For e.g., if I had here used the right to

   amend as a matter of right, none of defendants’ arguments would matter since it’d be allowed without court

   permission and defendants would’ve had to accept that. This shows that amendment should be freely allowed,

   especially where, as here, I had no opportunity to amend the complaint in federal court.




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6. Notwithstanding the length of my proposed complaint, my claims are coherent and intelligible. Also, there

    is no page limit for complaints or amended complaints, and thus I violated no page limit. Please note that a

    complaint can be verbose and still give fair notice of claims. The purpose behind rule 8 is not necessarily to

    bar verbose complaints, but to address complaints that are unintelligible or undecipherable and provide no

    fair notice of claims. Defendants haven’t asserted that my complaint is unintelligible or undecipherable.

7. Rule 8(a)(1) makes no reference to facts or causes of action. Under this rule, if a plaintiff fairly notifies the

    defendant of the nature of the claim and the grounds on which he relies, the action or complaint should not

    be dismissed or denied, because it does so through what might be termed "conclusions of law." See Conley

    v. Gibson , 355 U.S. 41, 45, 78 S.Ct. 99, 101, 2 L.Ed.2d 80 (1957). In Conley, it states:

        “To the contrary, all the Rules require is "a short and plain statement of the claim" that will give the defendant fair
        notice of what the plaintiff's claim is and the grounds upon which it rests….Such simplified "notice pleading" is
        made possible by the liberal opportunity for discovery and the other pretrial procedures established by the Rules
        to disclose more precisely the basis of both claim and defense and to define more narrowly the disputed facts and
        issues. Following the simple guide of Rule 8(f) that "all pleadings shall be so construed as to do substantial justice,"
        we have no doubt that petitioners' complaint adequately set forth a claim and gave the respondents fair notice of
        its basis. The Federal Rules reject the approach that pleading is a game of skill in which one misstep by counsel
        may be decisive to the outcome and accept the principle that the purpose of pleading is to facilitate a proper
        decision on the merits. Cf. Maty v. Grasselli Chemical Co., 303 U. S. 197.”

8. Rule 8 states in the notes: “No technical forms of pleading or motions are required” and that “This reflects the view that

    the primary function of pleadings is not to formulate the precise issues for trial but rather to give fair notice of the claims and

    defenses of the parties, and that particularized pleadings merely result in wasted time and effort, because claimed defects are

    matters of form which are subsequently corrected by amendment.” Rule 8(e)(2) permits “a party to state as many separate

    claims…as he has, regardless of consistency or legal or equitable ground, and also to set forth two or more

    statements of a claim…alternately or hypothetically, either in one count…or in separate counts...”

9. I also allege that defendants, to one extent or another, are working together and making decisions together,

    and that in many instances the acts of one defendant are the reflection of the acts of other defendants because

    of the relationships and/or organizational dynamics. Discovery is needed to dig deeper into the interplay of

    these dynamics. In addition, I provided certain details in the proposed complaint for context and background,

    which is allowable. It would be unjust to strike or deny the proposed complaint, which meets the purpose of

    a complaint, namely, to give notice of claims and to indicate plaintiff is entitled to relief. The Fed.R.Civ.P.

    8(a)) standard contains a powerful presumption against rejecting pleadings for failure to state a claim. All that
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   is required are sufficient allegations to put defendants fairly on notice of claims against them. The issue is not

   whether a plaintiff will ultimately prevail but whether claimant is entitled to offer evidence to support the

   claims. At this stage, the district court must resolve any ambiguities in plaintiffs’ favor. Pro se complaints,

   however inartfully pleaded, are held to less stringent standards than formal pleadings drafted by lawyers. The

   court must construe the pleading liberally and must afford [pro se] plaintiffs the benefit of any doubt, viewing

   such submissions by a more lenient standard. Haines v. Kerner, 404 U.S. 519, 520 (1972)). The court is

   obligated to “‘make reasonable allowances to protect Pro Se litigants'” from inadvertently forfeiting legal

   rights merely because they lack a legal education. Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 475 (2d

   Cir. 2006). The court must continue to “construe [a complaint] broadly, and interpret [it] to raise the strongest

   arguments that [it] suggests.” Weixel v. Bd. of Educ., 287 F.3d 139, 146 (2d Cir. 2002). The proposed

   complaint here has carefully laid out more than sufficient facts indicating defendants are liable and the claims

   against them are colorable. Pro se litigants are allowed more latitude than litigants represented by counsel to

   correct defects in service of process and pleadings. Even if defendants quibble with the technical form of my

   pleading, it still adequately states a claim and shouldn’t be denied amendment under Rule 12(b)(6) or

   Fed.R.Civ.P. 8(a). The US Supreme Court has held pleading standards under Fed.R.Civ.P. 8(a)(2) requires

   only a statement that gives defendants fair notice of what a plaintiff's claim is. My proposed complaint has

   done just that. To the extent my proposed complaint is alleged to be verbose, pro se leniency mandates that

   it not be denied on hyper-technical pleading grounds. NB: The Hilliard defendants have avoided this defense.

10. The Donais defendants fail to consider that this isn’t a typical simple lawsuit with one defendant and one

   plaintiff. This is a complex lawsuit with multiple defendants and multiple claims, and some are alternate

   theories of claims. I can’t be hand-tied to defendants’ presumptions of short & plain statements, when many

   issues have been consolidated into one complaint. I could have done separate complaints for defendants, but

   instead I brought related claims in one lawsuit. Further, the courts have favored resolution of all disputes

   between parties, in a single litigation. This is "to prevent multiplicity of actions and to achieve resolution in a single lawsuit

   of all disputes arising out of common matters." Carteret, supra, at 38, citing Southern Construction Co. v. Pickard,

   371 U.S. 57, 60, 83 S.Ct. 108, 110,9 L.Ed.2d 31 (1962). This supports the principles of judicial economy and

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    efficiency. Rule 8a clearly outlines the burden of pleading, which is much lighter/flexible than what

    defendants suggests. I’ve not failed to meet that burden.

11. NB: Defendants complain about time spent preparing filings, but they’re the ones that harmed me in the first

    place and the ones that moved this case to two federal courts, creating their own work and time spent to do

    so. Also, I refer to the proposed complaint as a placeholder because I didn’t have a proper chance to complete

    amendment of the complaint, the circumstances for which has been elsewhere noted.

12. Contrary to Donais defendants’ objection, no part of my proposed complaint is time-barred. [NB: This is

    already refuted in the proposed complaint. See para. 301, 701-712. That defendants keep reasserting these

    meretricious defenses is tantamount to a violation of Rule 11. See also Exhibit 3]. Because the Massachusetts

    renewal statute/savings statute applies, there are no statute of limitations issues in this case. Yet, defendants

    keep misstating the facts & law, in order to confuse or to throw off the court. NB: Covid tolling under MA

    law and the facts regarding the date of actual filing of the complaint on 6-18-22, are other points that

    undeniably refute any statute of limitations defense, as stated in the proposed complaint. See Para 703-707.

13. Contrary to the objection, the complained of statements are not absolutely privileged. If the allegations in the

    proposed complaint are true (which they are true and defendants can’t deny or dispute this at this stage), then

    the absolute legal privilege doesn’t or can’t preclude my causes of action against Donais defendants. I clearly

    stated in the proposed complaint that I’m not seeking any claim that involves a statement to a court, to

    the ADO or made in a judicial proceeding. See para. 713. Donais defendants cant reinterpret/misinterpret

    my proposed complaint to make it say something that it doesn’t say. Donais defendants seem to respond to

    the first complaint, not the proposed complaint, and are acting as though everything in the first complaint is

    in the proposed complaint. By doing this, they’re effectively trying to deny me the chance to amend the

    complaint, by using the things in the first complaint as grounds to deny the motion to amend the complaint.

    This is circular reasoning. My proposed complaint also centers on statements made to family members, to

    colleagues, to other lawyers in a non-judicial capacity or context, or in a business context, etc. See para. 106,

    248-258, 294-297, 351, 352, 371, 377, 417, 446. None of these statements can be said to even come close to




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   being within the penumbra of any kind of immunity. [NB: These statements by Donais weren’t made in the

   context of any representation of Donais.].

14. Contrary to the objection, in count 3, invasion of privacy, I’ve done a lot more than recite elements of my

   defamation claim. Defendants argue that I claim that “Donais “engaged in publicity,” but Plaintiff does not allege facts

   to demonstrate publicity, and such conclusory statements are insufficient, and the complaint fails to support an inference that any

   fact was publicized, i.e., communicated to the public at large. Plaintiff’s proposed Count 3 does not state a cause of action for

   invasion of privacy.” This is not correct. For e.g., I’ve pled “widespread publication and publicity of false light disclosures,

   throughout the entire police department and…to other police departments in the region, causing a state wide watch/lookout by

   the police for the plaintiff.” See para. 429. Defendants evidently want me to provide summary judgment

   evidence in an amended complaint, in order for amendment of the complaint to not be futile. This is an

   unheard of standard. The defendants appear to unfairly want new rules to apply to me.

15. Contrary to the objection, in count 4, aiding & abetting defamation is a recognized claim both in MA and

   NH. Here, defendants invoke a choice of law argument. But the choice of law issue can’t be resolved here

   when there is a prior pending motion to declare choice of law that has been stayed and which the court stated

   would be addressed only if the stay on the motion to dismiss was lifted, whereupon I can then resume filing

   my reply to defendants’ objection to that motion, which wasn’t filed yet. The court should allow amendment

   to the complaint and then invite defendants to file a new motion to dismiss, and then also invite plaintiff to

   refile any related pending motion, including the choice of law motion, and then address choice of law issues

   as part of the motions to dismiss, along with all the related prior pending/stayed motions as well. To address

   the choice of law issue now would be premature and prejudicial to me as plaintiff, without allowing my reply

   to defendants’ objection.

16. Similarly, I alleged Mary Donais (Ms. Donais) told her family the defamatory statements (para. 468). I also

   alleged Ms. Donais had an “active role” in publication of false statements to the police. See para. 466-469.

   These are, among others, substantive allegations regarding Ms. Donais’ role in the defamatory acts.

   Defendants play words games by asserting I need to allege more facts, but the facts alleged are sufficient.




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   This isn’t required to allege a cause of action. This is a very heightened pleading requirement that isn’t required

   under law. Defendants are trying to make it impossible to plead any claim against the defendants.

17. Contrary to the objection, in count 5, interference with contract or advantageous relations, I allege that Ms.

   Donais and Donais Law Office knowingly interfered with contract along with Craig Donais, and that I had

   a contractual or advantageous relationship with state police including the police chief. I also pled details of

   Donais’ knowledge of the contract and how he came to know about the contract, who was party to it, the

   nature of the contract, and what I was contracted to do, etc. Also, Ms. Donais knew of the contract or

   advantageous relations, and collaborated, joined in on, contributed and conspired on the interference. See

   para. 305. This isn’t based on absolutely privileged communications because it includes communications with

   others who aren’t police, not a judicial officer or ADO official. In order to plead contract interference, I’m

   not required to disclose minute details of the contract. The date of the contract is not necessary to be pled at

   this stage. Again, this is a ridiculous standard. Defendants here are grabbing at straws. Donais isn’t a party to

   the contract, so he can’t say there is no contract. This is just a matter of pleading. See also Manning v. Bos.

   Med. Ctr. Corp., 725 F.3d 34, 65 (1st Cir. 2013) (“A plaintiff cannot know everything about a defendant's potentially

   wrongful conduct, especially when it comes to the inner workings of a corporate or institutional defendant. Thus, our post-Twombly

   cases have recognized that “ ‘some latitude’ may be appropriate where a plausible claim may be indicated ‘based on what is

   known,’ at least where ... ‘some of the information needed may be in the control of [the] defendants.’ ” Menard, 698 F.3d at 45

   (alteration in original) (quoting Pruell, 678 F.3d at 15)”.). Donais knew of the contract with the police as well as

   with the others. Defendants are silent about the other alleged contract interference, which is a tacit admission.

   Also, I alleged both contract interference & interference with advantageous relations. See para. 307-309.

   Defendants are also silent about the advantageous relations (as well as about 93A & MCRA claims), which is

   a tacit admission. This shows defendants know they’re liable and that §176D was violated.

18. The antislapp law doesn’t apply. Moreover, the court can’t adjudicate any reference to antislapp law in an

   objection to a motion to amend complaint. I have pending motions to strike antislapp, or for antislapp

   discovery, that are stayed and can’t be resolved here. If the court were to resolve that here, it would be a gross




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   violation of fairness/due process, and tantamount to a draconian trick designed to lure me away from

   pursuing those motions under the guise they’re stayed, and then blindside me by resolving them here.

19. Moreover, statements between Craig, Mary & Garrett Donais (which I alleged occurred and is a critical part

   of my allegations against Mary & Craig Donais; see para. 462) is not privileged spousal communications.

20. Similarly, I’ve offered facts to support my IIED claim. They complain that I didn’t plead emotional distress

   as distinct from my prior defamation claim. But when I do so in the proposed complaint, they complain that

   I did so because I read their motion to dismiss. NB: Defendants read my oppositions in MA federal court

   and changed their motions to dismiss, in this court. So there is no point to this assertion. In fact, one reason

   for amendments allowed by the rules is to cure defects. This jab is simply gratuitous and pointless.

21. Regarding conspiracy with Hilliard & Donais, my allegations are sufficient for a civil conspiracy claim and

   aren’t absolutely privileged. See para. 579-583. If the court believes more details are needed, then the remedy

   is instruction for a limited further amendment or more definitive statement. Also, defendants asserted that

   “Plaintiff in his FAC alleged that Donais may have acted “alone.” (Doc. 1-3, ¶803.)”, but yet defendants can’t

   reference statements in a prior complaint as grounds for objection to the proposed complaint, as the first

   complaint is a nullity with respect to the motion to amend complaint. The court can’t deny amendment based

   on something stated in the prior complaint. See also Exhibit 6 for reply to Hilliard’s objection.

22. Similarly, in count 10, breach of fiduciary duty, I do allege a “fiduciary relationship that has been acquired

   and abused or a confidence has been reposed and betrayed”, and that Donais violated an “ethical and

   fiduciary” obligation to avoid conflicting representation and by discussing my confidential conversations,

   with others. See para. 600-601. I alleged that Donais did enter into a legal consultation contract relationship

   and thus an attorney-client relationship with me. It’s not necessary for me to allege that Donais or his law

   practice represented me in court. Thus, Donais owed a duty to me as plaintiff, and there was a fiduciary

   relationship. In fact, Defendants essentially admit there was a fiduciary relationship. In an example of utter

   grabbing at straws, defendants assert that where Donais violated that duty, it’s somehow absolutely privileged,

   which is absolutely ridiculous and a bad faith defense. The 2017 phone legal consultation is not time-barred.




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23. Contrary to the objection, in count 11, I do allege a contract between Donais and me. Also, defendants illicitly

    engage in disputation of facts by asserting that “In a blatant attempt to avoid dismissal, Plaintiff now contends that he

    was Donais’ client…However, he clearly was not.” In addition to disputing facts, defendants reference the first

    complaint again, in violation of the rules, by saying “As he currently alleges in his FAC”. There was a contract

    formed by virtue of the rules of professional conduct for lawyers, which obligate lawyers to protect

    confidentiality of clients or prospective clients, and impose obligation to avoid conflict of interest with parties

    adverse to each other. Donais violated that obligation/expectation under the rules of conduct. Moreover,

    Donais undertook specific acts including giving me legal advice and reviewing case information and

    recommending certain actions. This ratified the contract between the parties. The 2017 conversation

    stemmed from Donais’ call to me, after another lawyer Robert Obrien had arranged legal services of Donais

    for me and my wife, and after I had left a voice message for Donais asking for legal consultation services for

    me (and my wife). This claim can’t be denied based on futility because there is simply too much there that

    allows for the claim to proceed. The agreement was to provide legal advice/ consultation. A contract doesn’t

    have to involve full legal representation in court but can be limited to one conversation. The contract here

    occurred for legal advice/consultation and contract expectation occurred when Donais fulfilled the legal

    advice/consultation services for me in 2017. This was the common purpose for the contract with me. I’ve

    pled facts about the harm/damage caused by Donais’ breach of contract (see para. 632-637). NB: Donais

    defendants admit that I called myself a “former client” in the complaint, which confirms I’ve alleged a

    contractual attorney-client relationship (see para. 618, 620, 657).

24. Regarding Count 12, §1981, I alleged that there was a contract. The 2017 legal consultation, at minimum,

    satisfies the §1981 contract requirement. I also alleged §1981 violations based on other acts of Donais,

    subsequent to 2017 legal consultation (see para. 171-180, 412, 645, 651 & 658). Also, this is not time barred.

25. Similarly, defendants’ assertion that the claim against the malpractice carriers is futile is a clearly conclusory

    statement. The issue regarding whether liability is reasonably clear can’t be simply assumed to be in favor of

    the carriers when only the carriers/their counsel can assert or deny that liability (to them) wasn’t reasonably

    clear. If there are email communications between defendants and their carriers showing that the carriers were

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   concerned that liability is clear (but they were persuaded to hold the line in order to try to protect the

   reputation of defendants or because they were willing to gamble that a pro se non lawyer could prove it or

   know even to raise it as a claim), then this would indicate that liability was clear, despite all the public posturing

   by defendants to the contrary. I offered evidence of this, including that defendants counsel avoided any denial

   of liability or the facts of the case in MA federal court. An established law firm wouldn’t make such a mistake

   if there wasn’t serious consideration that the facts can’t be denied or liability was clear.

26. Donais defendants can’t challenge the claims against John Doe companies. Donais defendants’ counsel has

   stated that they don’t represent John Doe companies, and will not receive legal documents or letters for John

   Doe companies. See Exhibit 1. Thus, they can’t speak for John Doe companies. Only John Doe companies

   can speak for themselves. Donais defendants’ counsel want to have it both ways. They evidently want to play

   games with identifying the name of the companies, and claim that they don’t represent John Doe companies,

   while at the same time trying to make defensive arguments for John Doe companies. This is not right or fair.

   We need to hear from John Doe companies’ counsel. Donais defendants can’t assert that adding John Doe

   companies, and attendant §176D claims, are futile because liability is not reasonably clear, when the

   underlying facts aren’t disputed, nor can be disputed at this stage. Similarly, even if the facts could be disputed,

   it can’t be disputed by Donais defendants’ counsel because they don’t represent John Doe companies. Here,

   defendants (or the carriers) are in possession of information that is pertinent to this issue but defendants play

   hide the ball, saying I don’t present enough info. while hiding/blocking said info.

27. Contrary to the objection, I don’t seek to add defendants solely for the purpose of destroying diversity, but

   instead because they’re necessary parties or because subsequent acts after the filing of the complaint

   necessitate their addition to this case. The purpose of my amendment can’t be to defeat diversity jurisdiction

   because the court already denied remand based on affirming diversity. Also, I wasn’t dilatory as I’ve been

   seeking to add these parties promptly after defendants removed to federal court a year ago, and have been

   telling both federal courts that I’m seeking to add these parties since a year ago. The delay has been to no

   fault of mine. It can’t be my fault because I literally said I was seeking to add a non-diverse party and insurance

   companies since June 2023. Moreover, defendants have blocked me from obtaining the names of John Doe

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   companies (see again Exhibit 1). I’ll be significantly injured by denying this amendment. Defendants also

   admit that adding John Doe defendants don’t destroy diversity, so this argument can’t apply to them.

28. Defendants allege that adding Van Meek as a defendant is solely to “destroy diversity”, and that other than

   identifying Van Meek as a party, I “mentioned her only two other times”. But the reference to her as a non-

   diverse party is a reference back to prior filings where I told the court about a non-diverse party. Defendants

   are trying to twist my intent here. Yet, why do defendants even care? The court ruled that it has federal

   question & diversity jurisdiction. It should be curious to the court why there is this much effort to block Van

   Meek. The reason is that she is a critical and necessary party to showing part of the conspiracy claim and they

   want block that claim. The fact that I’m persisting in adding her as a defendant, despite the court’s denial of

   remand that affirmed diversity, shows that I can’t be doing this solely to destroy diversity. It is further not

   true to assert that I filed my “complaint in June of 2022”, but “did not seek to add her as a party until March of 2024”.

   I’ve been seeking to add her since June 2023 but I’ve been prevented by the maneuvers of defendants and

   the operations of the court. I’ll be significantly injured without Van Meek. According to defendants, unless I

   add a proliferation of claims against Van Meek, then somehow the claim is not valid. This is flawed erroneous

   reasoning. Defendants assert there are no facts about Van Meek’s specific “job” pled. But this is not quite

   true. I stated that Van Meek conspired outside of her job also. The proposed complaint doesn’t make the job

   the focal point because the conspiracy also took place outside of the job. See para. 584. If the court believes

   this is a deficiency needing more info. about the job, then the remedy is a limited instruction on further

   limited amendment, not denial or dismissal. Defendants also engage in unsupported/unwarranted

   speculation, without any basis, about my reasons for not going into detail about the job. Alleging a conspiracy

   to injure me, doesn’t require identification of anyone’s particular job. The claim is about a

   conspiracy/collusion between the persons to harm and injure me. I provided facts evidencing such

   conspiracy by alleging that Van Meek was fired or re-assigned once it was discovered by others, including her

   supervisor, of her conspiracy to harm me. See para. 584. If this is accepted as true, then it is strong damning

   factual evidence indicating guilt/liability. I need a chance to flesh this out in court, and not be denied the

   chance to even assert the claim via amendment. Van Meek can then provide her response or defense to the

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    claim at the appropriate time and forum. Van Meek is not immune from suit. To the extent defendants assert

    that Donais didn’t make plans with, nefariously interact with, or conspire with Van Meek against me, whether

    in or outside of her job, as a basis for their objection, then that’s a factual dispute (which isn’t appropriate to

    resolve at this stage), and supports grounds for discovery. See again Exhibit 2.

29. Also, defendants mislead this court with reference to page 9 of Exhibit A of their objection. That false

    reference pertained to suspected communications between the judge of the MA Middlesex superior court

    case and Donais, or between the judge and another clerk at the time, named Doug (NB: Van Meek was not

    a clerk in that court) of that case, about things that the judge or clerks heard from Donais. It wasn’t about

    communication between Donais and Van Meek whatsoever. Also, the judge did no investigation of

    facts/allegations regarding Donais and any clerk staff, but only stated that nothing improper came to his ears.

    Defendants thus misconstrued the docket. It has nothing to do with claims about Van Meek in my proposed

    complaint. Defendants either misread or intentionally twisted the docket. Also, the appeals court

    subsequently allowed for motion to disclose communications with Donais and clerks. Either way, the item

    wasn’t closed in state court, despite what defendants says. See Exhibit 4 & 5. See also sealed transcript.

30. Donais defendants either refer to or repeat arguments made in their motion to dismiss. Defendants also used

    their objection to engage in the fact disputes, which isn’t permitted at this stage. Donais defendants misstated

    facts regarding underlying reasons for dismissal in related Middlesex superior court case. Donais defendants

    know the truth but tried to mislead or deceive this court. This fact dispute will require discovery to ascertain

    bases for the 1-88 dismissal (without prejudice) that occurred in related Middlesex superior court case. See

    also Exhibit 6 for reply to Hilliard defendants’ objection, incorporated herein by reference.

31. Please liberally construe and grant my request or any other relief the court deems proper1.

                                                                                                              Respectfully submitted,
                                                                                                                  /s/ Andre Bisasor
Date submitted: May 13, 2024                                                                                          Andre Bisasor
Date corrected2: May 14, 2024
1
  I hereby also request discovery and sanctions as shown in Exhibits 2 & 3, which are hereby incorporated herein. [NB: See also Donais
defendants’ objections to discovery and sanctions, which further proves the need for discovery and shows they are blatantly dodging
addressing the fact that they have lied to the court]. I also intend to move to strike this objection, or portions thereof, which will be
forthcoming after filing this reply. I also incorporate my motion to amend complaint, proposed complaint & related filings.
2 In light of the clerks’ notice of filing error today, this correction is made for exhibits/exhibit description, and for errors found after

review including typos, grammatical errors, missing words/sentences. It is made promptly the next day. Please accept this version.
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                            CERTIFICATE OF SERVICE
    I certify that a copy of the foregoing was served to the defendants in this case.
                                                                                   /s/ Andre Bisasor
                                                                                       Andre Bisasor




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